Case No. 1:14-cv-02887-JLK-CYC         Document 336       filed 10/26/20   USDC Colorado
                                        pg 1 of 84




                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

Civil Action No. 1:14-cv-02887 JLK

ALEJANDRO MENOCAL,
MARCOS BRAMBILA,
GRISEL XAHUENTITLA,
HUGO HERNANDEZ,
LOURDES ARGUETA,
JESUS GAYTAN,
OLGA ALEXAKLINA,
DAGOBERTO VIZGUERRA, and
DEMETRIO VALERGA
on their own behalf and on behalf of all others similarly situated,

       Plaintiffs,

v.

THE GEO GROUP, INC.,

       Defendant.


PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION FOR
                     SUMMARY JUDGMENT
Case No. 1:14-cv-02887-JLK-CYC                        Document 336                filed 10/26/20            USDC Colorado
                                                       pg 2 of 84




                                            TABLE OF CONTENTS

I.     INTRODUCTION .................................................................................................... 1

II.    PLAINTIFFS’ RESPONSE TO GEO’S PROPOSED UNDISPUTED MATERIAL
       FACTS ...................................................................................................................... 1

III.   PLAINTIFFS’ STATEMENT OF ADDITIONAL FACTS .................................. 30

       A.        The Housing Unit Sanitation Policy............................................................ 30

       B.        Solitary Confinement .................................................................................. 38

       C.        Conditions of Confinement at GEO ............................................................ 39

       D.        GEO’s Contracting Practices ...................................................................... 44

IV.    LEGAL STANDARD ............................................................................................ 46

       A.        Summary Judgment ..................................................................................... 46

       B.        The TVPA ................................................................................................... 47

V.     ARGUMENT ......................................................................................................... 48

       A.        Material Disputes of Fact Preclude Summary Judgment on the Class’s
                 TVPA Claims. ............................................................................................. 48

                 1.       GEO’s Forced Labor Scheme Included Threats of Serious Harm and
                          Physical Restraint. ............................................................................ 50

                 2.       GEO’s Threats of Serious Harm Were Pervasive. ............................ 53

                 3.       Detainees’ Uniform Conditions of Confinement Made them
                          Especially Vulnerable to Coercion................................................... 54

                 4.       Placement in Solitary Confinement Is Not a “Legitimate
                           Consequence” of Refusing to Perform Unpaid Labor. .................... 57

                 5.       A Jury Could Conclude That GEO Intended its Threats to Compel
                          Unpaid Labor.................................................................................... 60




                                                               ii
Case No. 1:14-cv-02887-JLK-CYC                     Document 336               filed 10/26/20           USDC Colorado
                                                    pg 3 of 84




               6.       The Jury Can Infer That Class Members Cleaned Because of Fear of
                         Solitary Confinement. ...................................................................... 63

      B.       Class Members’ TVPA Claims Benefit from the TVPA’s 10-Year Statute
               of Limitations. ............................................................................................. 64

      C.       Plaintiffs Do Not Seek Injunctive Relief..................................................... 67

      D.       Material Disputes of Fact Preclude Summary Judgment on Plaintiffs’
               Unjust Enrichment Claims. ......................................................................... 67

               1.       The Record Shows That GEO Obtained a Benefit From Paying
                         Detainees $1 per Day for Their Labor. ............................................ 67

               2.       GEO’s Contract Defense Fails .......................................................... 70

                         i.       GEO Waived Its Contract Defense......................................... 70

                         ii.      The Contract GEO Relies On Is Unconscionable. ................. 70

VI.   CONCLUSION ...................................................................................................... 74




                                                           iii
Case No. 1:14-cv-02887-JLK-CYC                          Document 336               filed 10/26/20           USDC Colorado
                                                         pg 4 of 84




                                           TABLE OF AUTHORITIES

CASES                                                                                                                   PAGE(S)

Abarca v. Little,
   54 F. Supp. 3d 1064, 1069 (D. Minn. 2014) ................................................................ 66

Adler v. Wal-Mart Stores, Inc.,
   144 F.3d 664 (10th Cir. 1998) ..................................................................................... 46

Anderson v. Liberty Lobby, Inc.,
   477 U.S. 242 (1986) ..................................................................................................... 46

Barrientos v. CoreCivic, Inc.,
   951 F.3d 1269 (11th Cir. 2020) ............................................................................. 59, 60

Bernall v. Burnett,
   793 F. Supp. 2d 1280 (D. Colo. 2011) ......................................................................... 72

Bonanno v. Quizno’s Franchise Co., LLC,
   No. 06 Civ 2358, 2009 WL 1068744 (D. Colo. Apr. 20, 2009) .................................. 72

Bridges v. Poe,
   No. 19 Civ. 1399, 2020 WL 5408915 (N.D. Ala. Sept. 9, 2020) ................................ 50

Burke v. Regalado,
   935 F.3d 960 (10th Cir. 2019) ..................................................................................... 70

Camayo v. John Peroulis & Sons Sheep, Inc.,
  Nos. 10 Civ. 772, 11 Civ. 1132, 2013 WL 3927677 (D. Colo. July 20,
  2013) ....................................................................................................................... 65-66

Contreras v. Corinthian Vigor Ins. Brokerage, Inc.,
  25 F. Supp. 2d 1053 (N.D. Cal. 1998) ......................................................................... 73

Cruz v. Maypa,
   773 F.3d 138 (4th Cir. 2014) ................................................................................. 64, 65

Davis v. M.L.G. Corp.,
  712 P.2d 985 (Colo. 1986) ............................................................................... 71, 72, 73

DCB Const. Co. v. Cent. City Dev. Co.,
  965 P.2d 115 (Colo. 1998) ........................................................................................... 67

Doe v. Siddig,
  810 F.Supp.2d 127 (D.D.C. 2011) ............................................................................... 66


                                                                 iv
Case No. 1:14-cv-02887-JLK-CYC                       Document 336              filed 10/26/20          USDC Colorado
                                                      pg 5 of 84




Gilbert v. United States Olympic Comm.,
   423 F. Supp. 3d 1112 (D. Colo. 2019) ......................................................................... 65

Headley v. Church of Scientology Int’l,
  687 F.3d 1173 (9th Cir. 2012) ..................................................................................... 58

Hughes Aircraft Co. v. United States ex rel. Schumer,
  520 U.S. 939 (1997) ..................................................................................................... 64

Interbank Invests., LLC v. Eagle River Water & Sanitation Dist.,
    77 P.3d 814 (Colo. App. 2003) ............................................................................... 70-71

Lama v. Malik,
  192 F. Supp. 3d 313 (E.D.N.Y. 2016) ......................................................................... 65

Landgraf v. USI Film Prods.,
   511 U.S. 244 (1994) ............................................................................................... 64, 66

Lantec, Inc. v. Novell, Inc.,
   306 F.3d 1003 (10th Cir. 2002) ................................................................................... 50

Menocal v. GEO Grp., Inc.,
  320 F.R.D. 258 (D. Colo. 2017) .................................................................................. 63

Menocal v. GEO Grp., Inc.,
  882 F.3d 905 (10th Cir. 2018) ............................................................................... 61, 63

Muchira v. Al-Rawaf,
  850 F.3d 605 (4th Cir. 2017) ........................................................................... 55, 56, 58

Nunag-Tanedo v. E. Baton Rouge Par. Sch. Bd.,
  790 F. Supp. 2d 1134 (C.D. Cal. 2011) ....................................................................... 51

Radio Corp. Of Am. v. Radio Station KYFM, Inc.,
   424 F.2d 14 (10th Cir. 1970) ....................................................................................... 70

United States v. Bradley,
   390 F.3d 145 (1st Cir. 2004) .................................................................................. 47, 57

United States v. Callahan,
   801 F.3d 606 (6th Cir. 2015) ................................................................................. 56, 59

United States v. Calimlim,
   538 F.3d 706 (7th Cir. 2008) ................................................................................. 57, 62




                                                              v
Case No. 1:14-cv-02887-JLK-CYC                          Document 336               filed 10/26/20           USDC Colorado
                                                         pg 6 of 84




United States v. Dann,
   652 F.3d 1160 (9th Cir. 2011) ............................................................................... 47, 60

United States v. Kozminski,
   487 U.S. 931 (1988) ............................................................................................... 47, 59

United States v. Thompson,
   109 F.3d 639 (9th Cir. 1997) ....................................................................................... 50

United States v. Toviave,
   761 F.3d 623 (6th Cir. 2014) ................................................................................. 51, 59

Velez v. Sanchez,
   693 F.3d 308 (2d Cir. 2012)......................................................................................... 66

Williams v. Walker-Thomas Furniture Co.,
   350 F.2d 445 (D.C. Cir. 1965) ..................................................................................... 73

Statutes

8 U.S.C. § 1555 ................................................................................................................. 45

18 U.S.C. § 1589 ........................................................................................................ passim

Rules

Fed. R. Civ. P. 56............................................................................................................... 46

Other Authorities

H.R. Rep. No. 106-939, at 101 (2000) (Conf. Rep.),
as reprinted in 2000 U.S.C.C.A.N. 1380, 1392-93 ........................................................... 47

Victims of Trafficking and Violence Protection Act of 2000, PL 106–386,
   tit. XVIII, § 1589, 114 Stat. 1464 (2000)..................................................................... 66




                                                                vi
Case No. 1:14-cv-02887-JLK-CYC          Document 336       filed 10/26/20   USDC Colorado
                                         pg 7 of 84




I.      INTRODUCTION

        Summary judgment is appropriate in cases where there are no genuine issues of

material fact, making the role of a factfinder at trial unnecessary. GEO’s motion makes

abundantly clear that this is not such a case. To the contrary, GEO has identified

numerous issues of material fact that are properly determined at trial by a jury, including

but not limited to (1) whether a reasonable person would find placement in solitary

confinement to be “serious harm” under the Trafficking Victims’ Protection Act

(“TVPA”), (2) whether threats of solitary confinement caused detainees to perform

cleaning work for GEO, (3) whether detainees’ uniform conditions of confinement made

them more susceptible to coercion, (4) whether GEO financially benefited from paying

detainees a dollar a day under the Voluntary Work Program (“VWP”), and (5) whether

the agreement GEO required VWP workers to sign was an enforceable contract. The

Court should deny GEO’s motion for summary judgment, and allow this case to proceed

to trial.

II.     PLAINTIFFS’ RESPONSE TO GEO’S PROPOSED UNDISPUTED
        MATERIAL FACTS

        A.    Policies Challenged By Plaintiffs

        1.     At the class certification stage Plaintiffs cited to a Policy and Procedure

              Manual, titled “Sanitation Procedures” in support of their claims. 1 ECF 50-

              2.




1
      [GEO’s footnote] Plaintiffs have renamed this document the “HUSP,” but no
formal GEO policy is designated or titled “HUSP.” It appears that this phrase originates
Case No. 1:14-cv-02887-JLK-CYC        Document 336       filed 10/26/20    USDC Colorado
                                       pg 8 of 84




                 i. Plaintiffs’ Response: Admit that the “Sanitation Procedures”

                    section of the Aurora Policy and Procedure Manual was an exhibit to

                    Plaintiffs’ Motion for Class Certification. Deny the contention in the

                    footnote that Plaintiffs “have renamed this document the ‘HUSP’” or

                    that “no formal GEO policy is designated or titled ‘HUSP.’” As

                    GEO acknowledges, the Housing Unit Sanitation policy (“HUSP”) is

                    set forth in the Detainee Handbook under the heading “Housing Unit

                    Sanitation.”

      2.     The Sanitation Procedures were not developed to assign tasks to any

             specific individuals, but rather to detail the process for cleaning and

             materials to be used. ECF 289 (Undisputed Fact 31).

                 i. Plaintiffs’ Response: Admit. 2

      3.     Detainees do not receive a copy of the Sanitation Procedures during their

             stay at AIPC. ECF 50-1, 29:13-18 (30(b)(6) Deposition of Ceja).

                 i. Plaintiffs’ Response: Admit.

      4.     Plaintiffs no longer rely upon the Sanitation Procedures as a policy that

             underlies their TVPA claim. Ex. A. (Plaintiffs’ Supplemental Responses to

             GEO’s Sixth Set of Interrogatories, Responses to Interrogatory No. 39).



not from the Sanitation Procedures, but instead the Detainee Handbook which contains a
subsection called “Housing Unit Sanitation.” See ECF 260 at 7.
2
        ECF No. 289 is a notice filed by non-party ICE to correct inaccurate statements
made about the conditions of Plaintiff Hugo Hernandez Ceren’s confinement. GEO’s
citations to ECF No. 289 appear to refer to ECF No. 298.

                                            2
Case No. 1:14-cv-02887-JLK-CYC      Document 336       filed 10/26/20    USDC Colorado
                                     pg 9 of 84




              i. Plaintiffs’ Response: Deny. The referenced interrogatory does not

                  mention policies; rather, it states: “Describe all actions taken by

                  GEO that You allege constitute force, threats of force, physical

                  restraint, or threats of physical restraint” under 18 U.S.C. §

                  1589(a)(1).

      5.   Plaintiffs also cited the AIPC Handbook at the class certification stage as

           support for their TVPA claims. ECF 50-3.

              i. Plaintiffs’ Response: Admit.

      6.   Unlike the Sanitation Procedures, the AIPC Handbook is issued to all

           detainees entering the facility. ECF 289 (Undisputed Fact 23).

              i. Plaintiffs’ Response: Admit.

      7.   The only classwide polices that Plaintiffs challenge as part of their TVPA

           claim are the AIPC Handbook and an Orientation video shown to detainees

           upon arrival. Ex. A. (Plaintiffs’ Supplemental Responses to GEO’s Sixth

           Set of Interrogatories Responses to Interrogatory No. 39).

              i. Plaintiffs’ Response: Deny. Plaintiffs challenge GEO’s classwide

                  HUSP, which is described in the Detainee Handbook and orientation

                  video. The Detainee Handbook and orientation video contain

                  evidence of that policy, but are not the only evidence of that policy.

                  The referenced interrogatory does not mention policies; rather, it

                  states: “Describe all actions taken by GEO that You allege constitute




                                          3
Case No. 1:14-cv-02887-JLK-CYC      Document 336       filed 10/26/20     USDC Colorado
                                    pg 10 of 84




                 force, threats of force, physical restraint, or threats of physical

                 restraint” under 18 U.S.C. § 1589(a)(1).

      8.   More specifically, Plaintiffs challenge the meal clean-up policy in the AIPC

           Handbook whereby 6 detainees (2 of which are paid “Trustees” under the

           VWP) assist in cleaning up the housing unit after each meal. ECF 49; ECF

           261-17, 20.

              i. Plaintiffs’ Response: Deny. Plaintiffs challenge the HUSP, which

                 provides:

                         Each and every detainee must participate in the facility’s

                         sanitation program. A list of detainees is developed each day

                         by staff and is posted daily for viewing. During a general

                         cleanup all detainees must participate. The assigned Housing

                         Unit [or Dorm] Officer will be responsible for assuring this

                         general cleanup is done on a regular basis.

                 ECF No. 273-1 (2005 Detainee Handbook, GEO_MEN 00054871-

                 96) at 18; ECF No. 273-2 (2007 Detainee Handbook, GEO_MEN

                 00054151-222) at 49; ECF No. 273-3 (2008 Detainee Handbook,

                 GEO_MEN 00054224-52) at 19; ECF No. 273-4 (2010 Detainee

                 Handbook, GEO_MEN 00054253-77) at 16-17; ECF No. 273-5

                 (2011 Detainee Handbook, GEO-MEN 00065783-808) at 17; ECF




                                          4
Case No. 1:14-cv-02887-JLK-CYC           Document 336     filed 10/26/20      USDC Colorado
                                         pg 11 of 84




                    No. 261-17 (2013 Detainee Handbook, PL000029-55) at 20.3 The

                    evidence GEO cites does not support calling the policy a “meal

                    clean-up policy” and does not support that 2 of the 6 detainees

                    assigned to housing unit sanitation duties were VWP workers.

                    Further evidence related to the HUSP is also set forth in Plaintiffs’

                    Statement of Additional Facts (“SAF”), Nos. 1-13.

      9.     The meal clean up section of the handbook provides for the following

             sanction if not followed:

                    If the detainees in the housing unit do not clean the area after being

                    instructed to do so, the televisions will be turned off, and the

                    detainees will not be permitted to participate in any -

                    activities/programs until the housing unit is cleaned. Continued

                    refusal to clean will result in further disciplinary action.

                    ECF 261-17, 20.

                i. Plaintiffs’ Response: Admit that the Detainee Handbook includes

                    the quoted language. Deny that the quoted section of the handbook

                    specifically references meal clean-up.

      10.    GEO is required to comply with ICE’s PBNDS under its contract. ECF 289

             (Undisputed Facts 11-14, 16,18).



3
       Minor variations between handbooks are noted in brackets. In some versions of
the handbook, this policy is referred to as Dormitory Sanitation and not Housing Unit
Sanitation, but the substantive policy remains the same.

                                             5
Case No. 1:14-cv-02887-JLK-CYC       Document 336       filed 10/26/20    USDC Colorado
                                     pg 12 of 84




               i. Plaintiffs’ Response: Admit.

      11.   All applicable versions of ICE’s National Detention Standards (“NDS”)

            and PBNDS require GEO to adopt, without alteration, the ICE disciplinary

            severity scale and incorporate it into the AIPC Handbook. ECF 289

            (Undisputed Fact 19).

               i. Plaintiffs’ Response: Admit.

      12.   All applicable versions of ICE’s NDS and PBNDS require GEO to provide

            a disciplinary severity scale that includes the “[r]efusal to clean assigned

            living area” as an offense which can be sanctioned by “[d]isciplinary

            segregation (up to 72 hours).” ECF 289 (Undisputed Fact 21).

               i. Plaintiffs’ Response: Admit.

      13.   The ICE disciplinary severity scale included in the AIPC Handbook

            provides for up to 12 other sanctions as a possible consequence for refusing

            to clean one’s living area. These sanctions include warning, reprimand, and

            loss of privileges (e.g. commissary, vending machines, movies, recreation,

            etc.). ECF 261-10 at 24 (2000 NDS); ECF 261-9 at 56 (2008 PBNDS);

            261-8 at 47 (2011 PBNDS); ECF 260 at 17.

               i. Plaintiffs’ Response: Admit.

      14.   GEO included this sanction in the AIPC Handbook, as required by ICE.

            ECF 289 (Undisputed Facts 11-14, 16, 18, 19, 21).

               i. Plaintiffs’ Response: Admit.

      15.   The detainee orientation video provides:


                                           6
Case No. 1:14-cv-02887-JLK-CYC       Document 336       filed 10/26/20    USDC Colorado
                                     pg 13 of 84




            You will be protected from personal abuse, corporal punishment, personal

            injury, disease, and damage to your property and harassment to the fullest

            extent possible. Each and every detainee must participate in the sanitation

            program. A list of detainee’s [sic] is developed each day and is posed for

            viewing. During a general clean-up all detainees must participate.

            *****

            Disciplinary Process[.] Refer to your local supplement for more detailed

            information about the rules infractions that you must avoid and the

            established disciplinary actions that will be taken.

            *****

            High Moderate- and a few examples are . . . Indecent exposure, staling

            [sic], refusing to obey a staff member, insolence to staff member, lying or

            providing false statement to staff, being in an unauthorized area, not

            standing for count, interfering with count, gambling, destroying altering or

            damaging property”

            See ECF 262-10 (emphasis in original).

               i. Plaintiffs’ Response: Admit.

      16.   In addition to the AIPC Handbook and orientation video, GEO is required

            to provide all detainees with the ICE National Handbook. Like the AIPC

            handbook, the ICE Handbook also warns detainees that they could face

            disciplinary consequences if they refuse to clean, stating “Will I get paid for

            keeping my living area clean? No. You must keep areas that you use clean,


                                           7
Case No. 1:14-cv-02887-JLK-CYC     Document 336       filed 10/26/20   USDC Colorado
                                   pg 14 of 84




           including your living area and any general-use areas that you use. If you do

           not keep your areas clean, you may be disciplined.” Ex. B. (ICE National

           Handbook). Despite this being materially similar to the AIPC Handbook,

           Plaintiffs do not allege that ICE’s National Handbook constituted a threat

           as defined by the TVPA. ECF 49; Ex. A (Plaintiffs’ Supplemental

           Responses to GEO’s Sixth Set of Interrogatories, Responses to

           Interrogatory No. 39) (omitting any reference to the ICE National

           Handbook).

              i. Plaintiffs’ Response: Admit that the ICE National Handbook

                 includes the quoted language. Deny that cleaning general-use areas

                 is the same as keeping general-use areas clean, or that the language

                 in the ICE handbook is “materially similar” to the HUSP as set forth

                 in the Detainee Handbook. Compare ECF No. 310-1 (ICE Detainee

                 Handbook, GEO-MEN 00141667-702) at 18 (“Will I get paid for

                 keeping my living area clean? No. You must keep areas that you use

                 clean, including your living area and any general-use areas that you

                 use. If you do not keep your areas clean, you may be disciplined.”)

                 with ECF No. 273-1 (2005 Detainee Handbook, GEO_MEN

                 00054871-96) at 18; ECF No. 273-2 (2007 Detainee Handbook) at

                 49; ECF No. 273-3 (2008 Detainee Handbook) at 19; ECF No. 273-4

                 (2010 Detainee Handbook) at 16-17; ECF No. 273-5 (2011 Detainee

                 Handbook) at 17; ECF No. 261-17 (2013 Detainee Handbook) at 20.


                                         8
Case No. 1:14-cv-02887-JLK-CYC       Document 336      filed 10/26/20    USDC Colorado
                                     pg 15 of 84




                   (“Each and every detainee must participate in the facility’s sanitation

                   program. A list of detainees is developed each day by staff and is

                   posted daily for viewing. During a general cleanup all detainees

                   must participate.”).

      17.   Plaintiffs also challenge the VWP daily stipend. ECF 1, ECF 49,3.

                i. Plaintiffs’ Response: Admit.

      18.   All detainees are offered the opportunity to participate in the VWP. ECF

            261-10 at 24 (2000 NDS); ECF 261-9 at 56 (2008 PBNDS); 261-8 at 47

            (2011 PBNDS); ECF 260 at 17.

                i. Plaintiffs’ Response: Admit.

      19.   All detainees who participate in the VWP are told that their participation is

            voluntary. Ex. C. (Plaintiffs’ VWP applications).

                i. Plaintiffs’ Response: Admit, but note that that the cited documents

                   only do so by referring to the program as the “voluntary work

                   program” and “the volunteer work program.”

      20.   All detainees who participate in the VWP are told in advance that

            “compensation shall be $1.00 per day.” Ex. C. (Plaintiffs’ VWP

            applications.).

                i. Plaintiffs’ Response: Admit.

     21.    All detainees must sign an agreement to participate in the VWP,

            acknowledging that their compensation will be limited to $1 per day. Ex. C.

            (Plaintiffs’ VWP applications).


                                              9
Case No. 1:14-cv-02887-JLK-CYC        Document 336       filed 10/26/20    USDC Colorado
                                      pg 16 of 84




               i. Plaintiffs’ Response: Admit, but dispute that the agreement is an

                   enforceable contract. See § V.E.2, infra.

      22.   Some VWP participants receive additional incentives for their participation

            including candy or ice cream. Ex. D (Ceja 30(b)(6) Dep.162-163).

               i. Plaintiffs’ Response: Admit.

      B.    Plaintiff’s Experiences at the AIPC.

      23.   Plaintiff Menocal described a typical day at AIPC as follows:

            I wake up, get dressed, do my bed, wait for breakfast, eat breakfast, clean

            up, maybe exercise, walk around, read a book, draw. It depends. Again,

            wait for lunch to eat, clean up, maybe shower, maybe do some sports,

            maybe talk on the phone with someone, maybe write a letter, walk around,

            exercise, wait for dinner. Same thing, eat dinner, relax a while, maybe

            watch TV, read a book, draw, and, you know, wait for bedtime.

            Ex. E (Menocal Dep. 121:5-13).

               i. Plaintiffs’ Response: Admit.

      24.   While detained, Plaintiff Menocal described AIPC to a friend as follows:

            [T]hey’ve got pretty good grub, considering it’s, you know, a detention

            center. And we got three televisions, a bunch of tables, a bunch of people,

            and we all get along. Pretty nice. I mean, it’s – for being incarcerated, it’s

            not bad at all, not compared to – not compared to Denver County or the

            other one where I was at. This is like Camp Snoopy. It’s pretty easy.

            Ex. E (Menocal Dep. 54:5-12).


                                           10
Case No. 1:14-cv-02887-JLK-CYC      Document 336        filed 10/26/20    USDC Colorado
                                    pg 17 of 84




              i. Plaintiffs’ Response: Admit, but deny that this statement accurately

                 describes Plaintiff Menocal’s experience at Aurora. Plaintiff

                 Menocal testified that this statement was not true, and that he told

                 family and friends that GEO was a nice place and that the food was

                 good only so his friends and family would not worry about him. Ex.

                 1 (Menocal Tr.) 48:20-24; 67:12-68:5; 167:17-168:6. In response to

                 this recording, Plaintiffs’ expert Dr. Grassian stated: “A person can

                 experience a sense of dread and fear and still try to present a good

                 face to their friends and family and to themselves. You know, that

                 doesn’t change anything.” Ex. 2 (Grassian Tr.) 272:3-24.

      25.   Plaintiff Hugo Hernandez described a typical day as follows:

                 I would wake up for breakfast at 5:00 in the morning. I will walk

                 out, store my food, bring it back to the cell, and go to sleep only if it

                 was not my time to clean. But if I was assigned to clean, I have to

                 stay outside and clean. I couldn’t go back to sleep. So[,] I will store

                 my food. I will wake up when I wake up, and brush my teeth, do my

                 coffee, and make sure that all my cellies get the coffee because that’s

                 my one main thing. Then we will all sit at the table. I will do my

                 legal work, go through my documents, and see what else I need to

                 put in or something, watch a little bit of TV. I can go to the phone a

                 little bit. If -- if I will get someone to answer, I will go to the phone.

                 Wait for count time, wait for lunch. After lunch, I will do a cleanup


                                          11
Case No. 1:14-cv-02887-JLK-CYC     Document 336       filed 10/26/20    USDC Colorado
                                   pg 18 of 84




                 again, which is cleanup time, and wait to see who’s assigned for the

                 cleanup, and if I’m not assigned, then I just go to my cell or I go

                 against the wall just like everybody else. And once everything gets

                 reopened, go back into the table again and do some workout while

                 waiting -- doing my workout. I wait for chow again and wait for the

                 cleanup, and, of course, shower. Yeah, after the workout, shower,

                 get back. Wait for chow, clean up, and then eventually wait for the

                 GEO guard, Officer Blacknick, to come and pick me up so we can

                 go to the law library and collect all detainees who wanted to go to

                 the library. We’ll go to the law library, get a pat-down, go inside the

                 law library. And in there, I will help detainees with their documents,

                 printouts, making sure they understood what the immigration judge

                 was asking them to bring back, translations, looking for any specific

                 application they were looking for. And then once we were done, like

                 an hour later or an hour and a half later, I get another pat-down, get

                 taken back to the cell, and wait for count time. Ex. F (Hernandez

                 Dep. 107-108).

              i. Plaintiffs’ Response: Admit. The above omits the last two

                 sentences of Plaintiff Hernandez Ceren’s answer, which state: “And

                 after count time, the last count time, you have to be inside your cell

                 and the doors got to be locked in already. And then it’s another

                 day.”


                                        12
Case No. 1:14-cv-02887-JLK-CYC       Document 336       filed 10/26/20    USDC Colorado
                                     pg 19 of 84




      26.   While at AIPC, every detainee had the ability to communicate with ICE at

            any time. Ex. B (ICE Detainee Handbook, pg. 2) (“ICE officers will

            routinely visit the housing units at your facility. If you have questions about

            your case or how the facility has treated you, let the ICE officers know. . .

            [y]ou may also submit a request for information in writing.”); Ex. E

            (Menocal Dep. 56:1-10); Ex. F (Hernandez Dep. 97:15-22).

               i. Plaintiffs’ Response: Deny. While Plaintiffs acknowledge that the

                   ICE Detainee handbook suggests that detainees should have

                   “routinely” had an opportunity to communicate with ICE officers,

                   the cited evidence does not establish that “every detainee had the

                   ability to communicate with ICE at any time.” (emphasis added).

                   The documents do suggest that detainees would have the opportunity

                   to speak to ICE officials during their “routine[] visits” to the housing

                   units. It is unclear what the handbook means by “submit a request

                   for information in writing.” The cited testimony from Plaintiffs

                   Menocal and Hernandez Ceren suggests that detainees could file a

                   complaint or “kite”, though it is not clear whether the complaint

                   would go to ICE or GEO. Plaintiff Menocal did not know if the

                   kites he filed went to ICE or GEO personnel. Ex. 1 (Menocal Tr.)

                   56:16-20. In Plaintiff Hernandez Ceren’s deposition, a “kite” was

                   described as “a way that you could file a grievance or bring an issue




                                           13
Case No. 1:14-cv-02887-JLK-CYC      Document 336         filed 10/26/20   USDC Colorado
                                    pg 20 of 84




                   to the attention of the facility.” Ex. 3 (Hernandez Ceren Tr.) 97:15-

                   20.

      27.   Some detainees elected to be placed in segregation voluntarily, seeing it not

            as a punishment, but instead a location where they could receive peace and

            quiet. Ex. D (Ceja 30(b)(6) Dep. 55:7-19).

               i. Plaintiffs’ Response: Deny. The cited testimony describes

                   “protective custody,” which is not synonymous with “segregation,”

                   despite the fact that both practices use the same space. Detainees

                   who feel threatened, afraid, or unsafe in general population are

                   placed in protective custody. Ex. 4 (Gallegos Tr.) 74:7-76:23; see

                   also ECF No. 262-11 (Special Management Unit (“SMU”)

                   Operations policy, GEO_MEN00037770-84) at 3 (“Protective

                   custody (PC) may be initiated at the detainee’s request or ordered to

                   protect the detainee from harm.”). GEO’s segregation logs show

                   that the detainees who sought “peace and quiet” were sent to

                   protective custody. Ex. 5 (Segregation Activity Sheet, GEO-MEN

                   00070692-93).

      28.   None of the named Plaintiffs were placed in segregation for refusing to

            clean. Ex. A (Brambila’s Responses to GEO’s Sixth Interrogatories); Ex. E

            (Menocal Dep. 100:16-19); Ex. F (Hernandez Dep. 181:1-7); Ex. G

            (Valerga Dep. 141:24-142:2, 140:12-13); Ex. H (Lourdes Argueta Second

            Set of Discovery, Interrogatory No. 27; Yepez Gaytan Second Set of


                                          14
Case No. 1:14-cv-02887-JLK-CYC       Document 336       filed 10/26/20   USDC Colorado
                                     pg 21 of 84




            Discovery, Interrogatory No. 27; Alexaklina Second Set of Discovery,

            Interrogatory No. 27); Ex. I (Vizguerra Dep. 42:5-7); Ex. J (Xahuentitla

            Dep. 70:11-17).

               i. Plaintiffs’ Response: Admit.

      29.   Plaintiff Menocal did not receive direct threats for refusing to clean. Ex. H

            (Menocal’s Second Set of Discovery, Interrogatory No. 27).

               i. Plaintiffs’ Response: Deny. Plaintiff Menocal testified that GEO

                   guards, as well as other detainees, told him that he had to clean or be

                   sent to solitary confinement. Ex. 1 (Menocal Tr.) 96:5-97:3.

                   Plaintiff Menocal also witnessed other detainees taken to solitary

                   confinement for refusing to clean and understood that refusal to

                   clean could lead him to the same fate. Id. 102:14-25.

      30.   Plaintiff Olga Alexaklina was never threatened by GEO employees with

            disciplinary or administrative segregation for failing to clean. Ex. H

            (Alexaklina Second Set of Discovery, Interrogatory No. 27).

               i. Plaintiffs’ Response: Admit.

      31.   Upon being informed that he would be placed in segregation if he did not

            clean, Plaintiff Valerga responded with “go ahead.” Ex. G (Valerga Dep.

            136:16-137:19). Yet, Plaintiff Valerga was not placed in segregation on

            that occasion or any other occasion. Id. Valerga Dep. 141:24-142:2,

            140:12-13.




                                          15
Case No. 1:14-cv-02887-JLK-CYC         Document 336      filed 10/26/20   USDC Colorado
                                       pg 22 of 84




               i. Plaintiffs’ Response: Admit that Plaintiff Valerga testified to the

                     incident above but deny that he was not sent to segregation on “any

                     other occasion.” Plaintiff Valerga spent three weeks in segregation

                     at Aurora. Ex. 6 (Valerga Tr.) 8:22-9:13.

      32.   Plaintiff Hernandez testified in his deposition that he did not, and does not,

            consider the AIPC Handbook to be threatening. Ex. F (Hernandez Dep.

            58:12-24).

               i. Plaintiffs’ Response: Admit that Plaintiff Hernandez Ceren testified

                     he did not find portions of the handbook threatening, but deny that

                     he did not find the HUSP, which was described in the handbook,

                     threatening. Plaintiff Hernandez Ceren testified that he knew

                     cleaning was mandatory because “the GEO guard would tell you that

                     it’s in the handbook, and if you refuse, you were going to be sent to

                     the hole.” Ex. 3 (Hernandez Ceren Tr.) 159:10-15.

      33.   Plaintiff Dagoberto Vizguerra does not recall receiving the AIPC

            Handbook, let alone being threatened by it. Ex. I (Vizguerra Dep. 90:24-

            91:4).

               i. Plaintiffs’ Response: Admit that Plaintiff Vizguerra does not recall

                     receiving the handbook, but deny that he did not find the HUSP,

                     which was described in the handbook, threatening. Plaintiff

                     Vizguerra testified that he was aware of the cleaning requirement

                     and its consequences because he saw a detainee get sent to


                                            16
Case No. 1:14-cv-02887-JLK-CYC        Document 336       filed 10/26/20    USDC Colorado
                                      pg 23 of 84




                    segregation on his second or third day at Aurora for refusing to

                    clean. Ex. 7 (Vizguerra Tr.) 48:9-49:9. In addition, the record

                    reflects that all detainees receive and acknowledge the handbook

                    upon entry to the facility, regardless of Plaintiff Vizguerra’s specific

                    recollection. Ex. 8 (Ceja 30(b)(6) Tr. I) 88:7-23.

      34.   Plaintiffs are not making a claim for “mental anguish, emotional distress, or

            other similar related conditions.” Ex. H (Plaintiffs Responses to

            Interrogatory No. 32).

                 i. Plaintiffs’ Response: Admit.

      35.   Plaintiffs’ expert, Dr. Stuart Grassian, did not diagnose any of the plaintiffs

            with psychological conditions. Ex. K (Grassian Dep. 37:22-23; 237:20-

            238:24).

                 i. Plaintiffs’ Response: Admit. Issuing such diagnoses is beyond the

                    scope of Dr. Grassian’s report.

      36.   Detainees had varying motivations for cleaning:

            a.      Plaintiff Menocal preferred to clean up after himself while living at

                    AIPC because he preferred to “live and hang out in a clean

                    environment.” Ex. E (Menocal Dep. 81:6-10).

                               i. Plaintiffs’ Response: Deny. GEO takes this

                                  testimony out of context: Plaintiff Menocal testified

                                  that generally he prefers a clean environment; the

                                  testimony was not specific to Aurora. Plaintiffs further


                                            17
Case No. 1:14-cv-02887-JLK-CYC       Document 336         filed 10/26/20   USDC Colorado
                                     pg 24 of 84




                               deny that this testimony expresses his motivation for

                               cleaning up after others in the Aurora Facility. Mr.

                               Menocal testified that he cleaned because “we had to

                               clean and if not . . . we would be punished. . . . The

                               hole is not a pretty place.” Ex. 1 (Menocal Tr.)

                               104:25-105:3.

           b.    Indeed, while living at AIPC Plaintiff Menocal asked for permission

                 to clean the recreation area without an expectation of remuneration

                 simply because he spent a lot of time there and wanted to “hang out

                 in a clean environment.” Ex. E (Menocal Dep. 86:22-87:5).

                            i. Plaintiffs’ Response: Deny. Plaintiff Menocal

                               testified that he cleaned the rec yard as a precursor to

                               obtaining a job in the VWP, and that he eventually was

                               offered a job in the VWP because of this cleaning. Ex.

                               1 (Menocal Tr.) 86:3-87:14.

           c.    Plaintiff Hernandez liked to keep his area clean. Ex. F (Hernandez

                 Dep. 49:24-50:1).

                            i. Plaintiffs’ Response: Admit. However, the cited

                               testimony relates to Plaintiff Hernandez Ceren’s time

                               in a different facility.




                                         18
Case No. 1:14-cv-02887-JLK-CYC     Document 336      filed 10/26/20    USDC Colorado
                                   pg 25 of 84




           d.    To avoid the loss of TV time, detainees would often volunteer to

                 help clean up the living area, even if not asked or assigned by GEO

                 officers. Ex. F (Hernandez Ceren Dep. 78:2-9).

                           i. Plaintiffs’ Response: Admit, except as to GEO’s

                              characterization of this as “volunteer” work. The

                              threat of losing privileges, such as use of televisions

                              and phones, preceded threats of solitary confinement,

                              and the threats were often made together. Ex. 3

                              (Hernandez Ceren Tr.) 74:22-77:13.

           e.    Plaintiff Gaytan received access to X-Box gaming systems, movies,

                 and ice cream as an incentive to keep his dorm clean. Ex. L (Gaytan

                 Dep. 124:3-16).

                           i. Plaintiffs’ Response: Admit. These incentives were

                              not his motivation for cleaning in the HUSP; Plaintiff

                              Gaytan testified that he never complained about

                              cleaning because he was afraid that if he did so “they

                              will use that against me.” Ex. 9 (Gaytan Tr.) 37:5-9.

                              He also understood from GEO’s guards that if he did

                              not follow the rules he would be sent to solitary

                              confinement. Id. 143:25-144:1.




                                       19
Case No. 1:14-cv-02887-JLK-CYC       Document 336        filed 10/26/20   USDC Colorado
                                     pg 26 of 84




            f.     During the meal clean-up, two trustees in each of the housing units

                   would be paid under the VWP to assist with meal cleanup. Ex. M

                   (Quezada Dep. 64:9-19).

                              i. Plaintiffs’ Response: Admit that these trustees

                                 worked alongside the six additional unpaid detainees

                                 that participated in the clean-up. Ex. 10 (Pagan Tr.)

                                 106:17-21; Ex. 11 (Vasquez Tr.) 75:12-17.

            g.     Once a week, the cleanest housing unit is rewarded with ice cream or

                   cookies. Ex. D Dawn Ceja 30(b)(6) Dep. 163:12-16 (3/29/16).

                              i. Plaintiffs’ Response: Deny. Ceja testified that VWP

                                 workers who have done the best work each week are

                                 rewarded with ice cream and cookies, not the entire

                                 housing unit for its performance in the HUSP. Ex. 8

                                 (Ceja 30(b)(6) Tr. I) 163:12-25.

      37.   Plaintiffs’ expert, Dr. Grassian, is unaware of any literature that stands for

            the proposition that a threat of 72-hours in segregation could cause

            psychological harm. Ex. K (Grassian Dep. 243:14-21).

                      i. Plaintiffs’ response: Admit. Dr. Grassian testified that the

                          actual imposition of 72 hours in segregation could cause

                          psychological harm. Studies show a change in EEG readings

                          after 72-hours in solitary confinement, and that many people

                          experience severe psychological symptoms shortly after


                                           20
Case No. 1:14-cv-02887-JLK-CYC      Document 336       filed 10/26/20   USDC Colorado
                                    pg 27 of 84




                         placement in solitary confinement. Ex. 2 (Grassian Tr.)

                         175:25-180:3, 209:13-211:10.

      C.    GEO’s Operations.

      38.   ICE’s Disciplinary Severity Scale (incorporated into the AIPC Handbook)

            allows for a graduated scale of offenses. ECF 289 (Undisputed Fact 19).

               i. Plaintiffs’ Response: Admit. The Disciplinary Severity Scale in

                  some versions of the AIPC handbook differs from the scale as

                  printed in the PBNDS. See ECF No. 298 at 16 (Response to Fact

                  24).

      39.   The PBNDS instruct detention officers to resolve disciplinary infractions in

            an informal manner where possible. ECF 261-10 at 24 (2000 NDS); ECF

            261-9 at 56 (2008 PBNDS); 261-8 at 47 (2011 PBNDS); ECF 260 at 17.

               i. Plaintiffs’ Response: Deny. None of the citations offered include

                  an instruction to resort to “informal” discipline. Instead, GEO cites

                  to the PBNDS’ discussion of the High Moderate Offense Category,

                  which states the types of offenses and sanctions available for such

                  offenses, including “disciplinary segregation (up to 72 hours)” for

                  “refusal to clean assigned living area.” ECF No. 261-10 (INS

                  Detention Standard, GEO-MEN 00063671-4017 (excerpted)) at 24;

                  ECF No. 261-9 (2008 PBNDS, GEO-MEN 00062905-298

                  (excerpted)) at 56; ECF No. 261-8 (2011 PBNDS, GEO-MEN

                  00064018-414 (excerpted)) at 47.


                                          21
Case No. 1:14-cv-02887-JLK-CYC        Document 336       filed 10/26/20    USDC Colorado
                                      pg 28 of 84




      40.   GEO’s detention officers did not routinely or uniformly enforce segregation

            for the failure to clean. Ex. N.

               i. Plaintiffs’ Response: Deny. GEO guards sent detainees to solitary

                   confinement for refusing to clean on multiple occasions. ECF No.

                   262-12 (incident reports (compilation)); Ex. 12 (Hernandez Torres

                   Tr.) 81:20-82:3; Ex. 4 (Gallegos Tr.) 170:13-191:23 (verifying that

                   he wrote detainees up several times for “failure to obey my orders

                   for cleaning details,” resulting in their placement in segregation).

                   GEO guards also threatened to send detainees to solitary

                   confinement on a regular basis if they did not clean. Ex. 13

                   (Xahuentitla Tr.) 73:19-74:9, 83:7-19; Ex. 3 (Hernandez Ceren Tr.)

                   74:23-75:11, 78:10-79:5; Ex. 12 (Hernandez Torres Tr.) 60:8-14;

                   infra at SAF No. 13. The guards’ testimony that cleaning was not

                   mandatory is contradicted by that of GEO’s 30(b)(6) designee,

                   Assistant Warden Dawn Ceja, that officers were expected to enforce

                   the rules in the handbook, and that detainees were expected to obey

                   officers’ commands. Ex. 14 (Ceja 30(b)(6) Tr. II) 105:12-24, 138:6-

                   139:12 (testifying that facility rules and the disciplinary severity

                   scale were posted in every dorm, and that the “expectation is that

                   those rules are going to be enforced”). Moreover, the guards’

                   testimony that they enforced every single rule in the handbook

                   except the one that is at issue in this litigation is implausible and


                                           22
Case No. 1:14-cv-02887-JLK-CYC       Document 336       filed 10/26/20     USDC Colorado
                                     pg 29 of 84




                   should be tested before a jury. See, e.g., Ex. 15 (Quezada Tr.)

                   84:21-92:4.

      41.   It would be a very rare occurrence for a detention officer tell a detainee that

            they would be sent to segregation if they did not clean. Ex. N.

               i. Plaintiffs’ Response: Deny. Detainees testified that guards

                   threatened to send them to solitary confinement on a regular basis if

                   they did not clean. See, e.g., Ex. 13 (Xahuentitla Tr.) 73:19-74:9,

                   83:7-19; Ex. 3 (Hernandez Ceren Tr.) 74:23-75:11, 78:10-79:5; Ex.

                   12 (Hernandez Torres Tr.) 60:8-14; infra at SAF No. 13. The

                   statements to the contrary in the declarations GEO has submitted

                   contradict the guards’ own testimony at their depositions, where they

                   testified that they would explain to detainees that facility rules

                   required them to clean and that detainees could be sent to solitary

                   confinement for refusing. Ex. 10 (Pagan Tr.) 174:2-175:6; see also

                   Ex. 4 (Gallegos Tr.) 137:10-19 (testifying that he had never written

                   anyone up for refusing to clean); 170:7-174:3; 179:15-187:14;

                   188:8-189:25; 192:5-8; 197:6-200:25; 203:4-206:25 (acknowledging

                   that he had issued numerous write-ups for “failure to obey my orders

                   for cleaning details”). The threats of solitary confinement were so

                   pervasive and the knowledge that solitary confinement was the

                   punishment for refusing to clean was so widespread that detainees

                   communicated that information to one another. See, e.g., Ex. 1


                                           23
Case No. 1:14-cv-02887-JLK-CYC       Document 336        filed 10/26/20   USDC Colorado
                                     pg 30 of 84




                   (Menocal Tr.) 95:16-97:3; Ex. 6 (Valerga Tr.) 168:13-169:13

                   (testifying that his cellmate told him that the punishment for refusing

                   to clean was solitary confinement).

      42.   When a detainee was placed in segregation for the refusal to clean, it was

            typically because the refusal to clean was in concert with another

            disciplinary infraction. Id. Ex. N.

               i. Plaintiffs’ Response: Deny. Some detainees were sent to solitary

                   confinement only for refusing to clean. ECF No. 262-12 (incident

                   reports) at 2-3, 14. Even where GEO sent detainees to solitary

                   confinement for refusing to clean and other charges, the sole

                   underlying conduct was refusal to clean. For example, the record

                   shows that GEO sent detainees to solitary confinement for refusing

                   to clean and for refusing to obey an officer’s order or “insolence” to

                   staff members. But in each of these incidents the order the detainees

                   refused to obey was the order to clean and the insolence was the

                   conduct used to express the refusal. Id. at 4-10, 12. In other

                   incidents detainees were sent to solitary confinement for refusing to

                   clean without being charged with that specific infraction, but the

                   underlying conduct described in the incident report indicates the

                   order not followed or insolence expressed was related to the refusal

                   to clean. Id. at 11, 13; see also Ex. 4 (Gallegos Tr.) 170:7-174:3,

                   179:15-187:14, 188:8-189:25, 192:5-8, 197:6-200:25, 203:4-206:25


                                           24
Case No. 1:14-cv-02887-JLK-CYC       Document 336       filed 10/26/20    USDC Colorado
                                     pg 31 of 84




                  (discussing incident in which he wrote up detainees for failing to

                  “obey my orders for cleaning details”).

      43.   Consistent with the PBNDS, detention officers worked to resolve issues

            informally wherever possible. Ex. N.

               i. Plaintiffs’ Response: Admit. Detention officers testified that they

                  dealt with rule violations by explaining the infraction and potential

                  consequences to detainees, and if the infraction persisted guards

                  would issue a “write-up” which could lead to disciplinary

                  segregation. Ex. 4 (Gallegos Tr.) 121:21-122:20. One of the

                  potential consequences guards explained was that detainees could be

                  sent to solitary confinement for failing to comply. Ex. 10 (Pagan

                  Tr.) 174:2-175:6. This is reflected in the HUSP, which states that

                  initial sanctions for refusal to clean include turning off the television

                  and being prohibited from participating in activities, and that

                  “[c]ontinued refusal to clean the area will result in further

                  disciplinary action.” ECF No. 273-1 (2005 Detainee Handbook,

                  GEO_MEN 00054871-96) at 18; ECF No. 273-2 (2007 Detainee

                  Handbook) at 50; ECF No. 273-3 (2008 Detainee Handbook) at 19;

                  ECF No. 273-4 (2010 Detainee Handbook) at 17; ECF No. 273-5

                  (2011 Detainee Handbook) at 17; ECF No. 261-17 (2013 Detainee

                  Handbook) at 20.




                                          25
Case No. 1:14-cv-02887-JLK-CYC       Document 336        filed 10/26/20    USDC Colorado
                                     pg 32 of 84




      44.   Where formal sanctions were necessary, officers imposed lesser sanctions

            as permitted by the disciplinary severity scale wherever possible. Id.; Ex. O

            (Ceja 30(b)(6) Dep. 113:13-17).

               i. Plaintiffs’ Response: Admit. As relevant to the HUSP, the threat of

                   losing privileges, such as use of televisions and phones, preceded

                   threats of solitary confinement, and the threats were often made

                   together. ECF No. 273-1 (2005 Detainee Handbook, GEO_MEN

                   00054871-96) at 18; ECF No. 273-2 (2007 Detainee Handbook) at

                   50; ECF No. 273-3 (2008 Detainee Handbook) at 19; ECF No. 273-4

                   (2010 Detainee Handbook) at 17; ECF No. 273-5 (2011 Detainee

                   Handbook) at 17; ECF No. 261-17 (2013 Detainee Handbook) at 20;

                   Ex. 3 (Hernandez Ceren Tr.) 74:22-77:13; see also Plaintiffs’

                   response to GEO’s Undisputed Fact No. 43.

      45.   The detention officers were not trained to tell detainees they could be sent

            to segregation or to utilize segregation as a response to the failure to clean

            absent additional disciplinary concerns. Ex. N.

               i. Plaintiffs’ Response: Deny. The cited declarations are inconsistent

                   with the guards’ deposition testimony. Guards were trained that the

                   AIPC Handbook was a source of rules and discipline that apply

                   when detainees refuse to act or commit a violation in the disciplinary

                   scale. Ex. 11 (Vasquez Tr.) 73:14-20, 82:5-23; Ex. 10 (Pagan Tr.)

                   95:15-21; Ex. 4 (Gallegos Tr.) 118:7-23, 121:1-122:25; Ex. 15


                                           26
Case No. 1:14-cv-02887-JLK-CYC       Document 336       filed 10/26/20    USDC Colorado
                                     pg 33 of 84




                   (Quezada Tr.) 19:15-20:13, 82:3-98:12. Guards understood that the

                   handbook established a rule requiring detainees to clean common

                   areas. Ex. 10 (Pagan Tr.) 104:21-105:16; Ex. 11 (Vasquez Tr.) 74:1-

                   25, 105:10-106:7; Ex. 4 (Gallegos Tr.) 163:14-17; Ex. 15 (Quezada

                   Tr.) 81:8-82:2, 101:20-102:23. Guards were also trained to enforce

                   facility rules by using the disciplinary measures set forth in the

                   handbook. Ex. 4 (Gallegos Tr.) 121:21-122:16; Ex. 10 (Pagan Tr.)

                   174:2-175:6.

      46.   Importantly, none of the detention officers intended to scare or intimidate

            any individual into performing labor. Id. Ex. N.

               i. Plaintiffs’ Response: Admit, but deny this fact is material. It is

                   GEO’s knowledge, not its employees’ intent, that is material to

                   TVPA claims. See § V.B.3, infra.

      47.   When a detainee would refuse to clean, the detention officers would

            typically ask another detainee to assist with cleaning instead. Id.

               i. Plaintiffs’ Response: Deny. The cited declarations are inconsistent

                   with the declarants’ deposition testimony. At deposition, the

                   declarant guards testified that the Detainee Handbook was a source

                   of rules to be enforced, including with respect to cleaning. Ex. 10

                   (Pagan Tr.) 99:17-100:10, 104:21-105:16; Ex. 11 (Vasquez Tr.)

                   74:20-75:24, 105:11-106:7; Ex. 4 (Gallegos Tr.) 141:8-16; 161:16-

                   164:7. Joyce Quezada testified that she enforced the HUSP “as


                                           27
Case No. 1:14-cv-02887-JLK-CYC      Document 336       filed 10/26/20   USDC Colorado
                                    pg 34 of 84




                  written.” Ex. 15 (Quezada Tr.) 102:1-23. Luis Pagan admitted that

                  he enforced the HUSP by telling detainees that they could be sent to

                  solitary confinement if they did not comply. Ex. 10 (Pagan Tr.)

                  174:2-175:6. In fact, detainees were actually sent to solitary

                  confinement for refusing to clean. ECF No. 262-12 (incident

                  reports); Ex. 12 (Hernandez Torres Tr.) 81:20-82:3; infra, SAF No.

                  13. When one detainee, Grisel Xahuentitla, offered to clean in place

                  of a sick detainee who could not clean, she was told to go back to

                  her cell and that the sick detainee had to do the work or “be sent to

                  the hole.” Ex. 13 (Xahunetitla Tr.) 73:19-74:9. Moreover, the cited

                  declarations are contradicted by GEO’s 30(b)(6) witness Dawn Ceja,

                  who testified that there was no alternative discipline policy for

                  violations related to cleaning during the class period. Ex. 14 (Ceja

                  30(b)(6) Tr. II) 170:13-174:20.

      48.   If no detainees performed any work in the Aurora facility, GEO would

            make more money, not less. Ex. P (Ragsdale 30(b)(6) Dep. 168:4-10).

               i. Plaintiffs’ Response: Deny. GEO estimates that “replacing all GEO

                  ICE detainees with full-time employees” would cause it to incur a

                  substantial cost across its immigration detention business

                  nationwide. Ex. 16 (GEO-MEN 00187770) (May 30, 2018 Letter).

                  Further, without detainee labor, the cost to the government for

                  GEO’s services would increase. If a contractor’s bid to the


                                         28
Case No. 1:14-cv-02887-JLK-CYC        Document 336        filed 10/26/20    USDC Colorado
                                      pg 35 of 84




                   government is too high – even if there is no competition for the

                   project – the government may not award the contract. Ex. 17

                   (Venturella Tr.) 166:1-4. The government will only award the

                   contract to a contractor whose bid price is “reasonable” and not “too

                   high.” Id. 165:5-23.

      49.   At AIPC the $1.00 daily allowance is a pass through from the government

            at the actual rate. Ex. P (Ragsdale 30(b)(6) Dep. 166:20-167:6)

               i. Plaintiffs’ Response: Admit.

      50.   “[T]here’s no incentive financially for GEO to use any voluntary work

            person to do anything, particularly when you have to, again, incentivize

            them . . . beyond a dollar a day. It’s sort of cost neutral at a dollar a day but



            30(b)(6) Dep. 168:12-17).

               i. Plaintiffs’ Response: Admit. See also Ex. 18 (A. Martin Tr.)

                   107:18-22 (if GEO had to pay more than $1/day to VWP workers, it

                   would do so “on its own dime” because the government would not

                   reimburse the added cost).

      51.   If ICE did not mandate the VWP as a requirement of its contracts, GEO

            would “build the staff [in]to [its] cost estimate and then [] mark that cost

            up.” Ex. Q (Evans Dep. 75:3-10).

               i. Plaintiffs’ Response: Admit that Evans made this hypothetical

                   claim, but note that GEO has previously admitted that ICE mandates


                                            29
Case No. 1:14-cv-02887-JLK-CYC        Document 336       filed 10/26/20    USDC Colorado
                                      pg 36 of 84




                    that GEO operate a VWP. ECF No. 286 (Pls.’ DSI SJ Reply Br.) ¶

                    35.

       52.   GEO’s markup would be a fee of up to 15% of the labor cost. Ex. Q (Evans

             Dep. 29:2-21; 62:16-63:14).

                i. Plaintiffs’ Response: Admit.

III.   PLAINTIFFS’ STATEMENT OF ADDITIONAL FACTS

       A.    The Housing Unit Sanitation Policy

       1.    All detainees at Aurora receive the Aurora ICE Processing Center Detainee

             Handbook Local Supplement (“Detainee Handbook”) upon arrival at the

             Facility. Ex. 8 (Ceja 30(b)(6) Tr. I) 29:19-24; see also ECF No. 286 (Pls.’

             DSI SJ Reply Br.) ¶¶ 60-61.

       2.    The Detainee Handbook states that detainees “will be held accountable for

             [their] actions while in custody at [Aurora]” and that “[t]herefore, it is each

             detainee’s responsibility to become familiar with the contents of this

             handbook.” ECF No. 273-1 (2005 Detainee Handbook) at 3; ECF No. 273-

             2 (2007 Detainee Handbook) at 6; ECF No. 273-3 (2008 Detainee

             Handbook) at 3; ECF No. 273-4 (2010 Detainee Handbook) at 3; ECF No.

             273-5 (2011 Detainee Handbook) at 3; ECF No. 261-17 (2013 Detainee

             Handbook) at 5.

       3.    GEO’s detention officers are expected to enforce the rules set forth in the

             Detainee Handbook. Ex. 14 (Ceja 30(b)(6) Tr. II) 139:2-12.




                                            30
Case No. 1:14-cv-02887-JLK-CYC      Document 336       filed 10/26/20   USDC Colorado
                                    pg 37 of 84




      4.   The Detainee Handbook contains a “Housing Unit Sanitation” policy,

           which states:

                 Each and every detainee must participate in the facility’s sanitation

                 program. A list of detainees is developed each day by staff and is

                 posted daily for viewing. During a general cleanup all detainees

                 must participate. The assigned Housing Unit [or Dorm] Officer will

                 be responsible for assuring this general cleanup is done on a regular

                 basis.

           See supra, Plaintiffs’ Response to GEO’s Undisputed Fact No. 8.

      5.   Immediately under the “Housing Unit Sanitation” heading, in a section

           titled “Day Space,” the handbook provides:

                 All detainees in a housing unit [or dorm] are required to keep clean

                 and sanitary all commonly accessible areas of the housing unit [or

                 dorm], including walls. floors, windows, window ledges, showers,

                 sinks, toilets, tables, and chairs.

                 Detainees will take turns cleaning the area [or day space]. If a

                 detainee feels that everyone is not doing their fair share, the detainee

                 should inform the housing unit officer of the problem. Action will be

                 taken to resolve this problem.

           ECF No. 273-1 (2005 Detainee Handbook) at 18; ECF No. 273-2 (2007

           Detainee Handbook) at 49; ECF No. 273-3 (2008 Detainee Handbook) at

           19; ECF No. 273-4 (2010 Detainee Handbook) at 16-17; ECF No. 273-5


                                          31
Case No. 1:14-cv-02887-JLK-CYC      Document 336           filed 10/26/20   USDC Colorado
                                    pg 38 of 84




           (2011 Detainee Handbook) at 17; ECF No. 261-17 (2013 Detainee

           Handbook) at 20 (emphasis added).

      6.   The handbook then repeats that “[t]he day room area will be kept clean at

           all times,” and sets forth a brief summary of the punishments that may be

           imposed on disobedient detainees under the facility’s progressive discipline

           system:

                  Should an officer notice that the area is not clean, the officer will

                  make available necessary cleaning supplies. If the detainees in the

                  housing unit [or dorm] do not clean the area after being instructed to

                  do so, the televisions will be turned off and the detainees will not be

                  permitted to participate in any activities/programs until the housing

                  unit [or dorm] is cleaned. Continued refusal to clean the area will

                  result in further disciplinary action.

           Id.

      7.   The Detainee Handbook also sets forth the disciplinary scale at the Aurora

           Facility, which defines “refusal to clean” as a 300-level, or high-moderate,

           offense. ECF No. 273-1 (2005 Detainee Handbook) at 25-26; ECF No.

           273-2 (2007 Detainee Handbook) at 68-69; ECF No. 273-3 (2008 Detainee

           Handbook) at 29; ECF No. 273-4 (2010 Detainee Handbook) at 23-24; ECF

           No. 273-5 (2011 Detainee Handbook) at 24-25; ECF No. 261-17 (2013

           Detainee Handbook) at 27.




                                          32
Case No. 1:14-cv-02887-JLK-CYC       Document 336       filed 10/26/20   USDC Colorado
                                     pg 39 of 84




      8.    Punishments for 300-level offenses include placement in solitary

            confinement. Id.

      9.    Pursuant to the HUSP, GEO guards in each housing unit developed a list of

            unpaid detainees each day, who were required to clean the housing unit

            common areas after each meal. Ex. 8 (Ceja 30(b)(6) Tr. I) 36:13-37:20,

            83:9-84:24.

      10.   This work involved scrubbing tables and chairs, sweeping mopping floors,

            and cleaning common use equipment such as microwaves, phones,

            showers, and toilets. Id. 36:24-37:9; Ex. 19 (Ragsdale 30(b)(6) Tr.) 16:14-

            18; Ex. 3 (Hernandez Ceren Tr.) 162:24-165:20.

      11.   HUSP cleaning was distinct from the personal housekeeping requirements

            enumerated in the PBNDS, which require detainees to “maintain their

            immediate living area in a neat and orderly manner by 1. making their bunk

            beds daily; 2. stacking loose papers; 3. keeping the floor free of debris and

            dividers free of clutter; and 4. refraining from hanging/draping clothing,

            pictures, keepsakes, or other objects from beds, overhead lighting fixtures

            or other furniture.” ECF No. 261-8 (2011 PBNDS) at 51; ECF No. 261-9

            (2008 PBNDS) at 61-62; ECF No. 261-10 (2000 NDS) at 3; Ex. 20 (A.

            Martin 30(b)(6) Tr.) 25:25-26:24.

      12.   The HUSP at the Aurora Facility is “a GEO policy, created by GEO. The

            GEO HUSP is not created by ICE nor is it a requirement of the contract.




                                          33
Case No. 1:14-cv-02887-JLK-CYC      Document 336      filed 10/26/20   USDC Colorado
                                    pg 40 of 84




            ICE did not draft or negotiate GEO’s HUSP.” ECF No. 261-7 (Ely Decl.) ¶

            22.

      13.   Guards frequently threatened detainees with solitary confinement for

            refusing to clean. For example:

            i.    A detainee in Hugo Hernandez Ceren’s pod refused to clean, telling

                  the guards that he was no janitor and that they needed to pay

                  someone for that type of job. Ex. 3 (Hernandez Ceren Tr.) 74:16-

                  77:19. In response, a guard took out a plastic trash bag and told the

                  detainee “Just pack your stuff because you’re going to go to the

                  hole.” Id. The detainee “started cleaning right away” in response to

                  the threat. Id. On another occasion, one detainee in Hernandez

                  Ceren’s dorm refused to clean and others, including Hernandez

                  Ceren and other named plaintiffs, supported him, leading the guard

                  on duty to call a sergeant. Id. 78:10-80:12. The sergeant told

                  everyone that if they continued refusing to clean, they would be sent

                  to the hole, which he described as cold and lonely. Id. He also told

                  them that GEO would inform the immigration court that they had

                  been disobedient. Id. Hernandez Ceren testified that he witnessed

                  similar threats “multiple times with multiple guards.” Id. 161:13-19.

            ii.   Dagoberto Vizguerra observed someone being sent to solitary

                  confinement for refusing to clean on the second or third day he was

                  at Aurora. Ex. 7 (Vizguerra Tr.) 48:9-22. He described the officer


                                         34
Case No. 1:14-cv-02887-JLK-CYC      Document 336         filed 10/26/20   USDC Colorado
                                    pg 41 of 84




                  in his dorm who enforced the HUSP as “screaming at the detainees

                  in his pod about cleaning. Id. 97:20-98:10.

           iii.   Grisel Xahuentitla saw a woman in her dorm try to refuse to clean

                  because she was feeling ill. The guard on duty told her that if she

                  did not work she would be sent to the hole, and that “it wasn’t going

                  to be . . . pleasant.” Ex. 13 (Xahuentitla Tr.) 73:19-75:22. She

                  explained that when guards threatened detainees with solitary

                  confinement, “they’re not – they’re, of course, not – they’re not

                  whispering you to your ear. They’re loud, and so they – so you feel

                  a little intimidated.” Id. 137:4-13.

           iv.    Alejandro Menocal was informed about the HUSP upon arrival at

                  the Aurora Facility, and told by guards and other detainees that

                  failure to clean could result in being placed in segregation. Ex. 1

                  (Menocal Tr.) 95:16-97:3. On one occasion, he witnessed other

                  detainees being removed from an adjacent pod, and was told that

                  they were being taken to segregation for that reason. Id. 100:16-

                  109:2.

           v.     Alejandro Hernandez Torres tried to resist HUSP cleaning, telling

                  the guard on duty, “[W]hy should I clean all of the tables if I didn’t

                  use all of the tables?” In response, the guard took him to

                  segregation. Ex. 12 (Hernandez Torres Tr.) 60:8-14, 81:20-82:3,

                  141:9-19.


                                          35
Case No. 1:14-cv-02887-JLK-CYC       Document 336      filed 10/26/20    USDC Colorado
                                     pg 42 of 84




            vi.    Jesus Yepez Gaytan testified that when new detainees arrived at the

                   facility, they would often push back on the HUSP cleaning

                   requirement, which frequently led to guards telling them that

                   continued resistance would land them in solitary confinement. Ex. 9

                   (Gaytan Tr.) 112:1-113:4, 142:23-144:1.

            vii.   Demetrio Valerga testified that when he first arrived at the Aurora

                   facility, his cellmate told him that he had to participate in the HUSP

                   or he would be put in solitary confinement. Ex. 6 (Valerga Tr.)

                   168:13-169:12. Towards the end of his stay, he resisted cleaning

                   and was threatened with segregation and handcuffed by a guard,

                   although he did not end up being taken there. Id. 155:18-156:6.

      14.   GEO guards were trained to enforce facility rules and to carry out the

            disciplinary scale as written in the Detainee Handbook. Ex. 11 (Vasquez

            Tr.) 82:5-23; Ex. 10 (Pagan Tr.) 95:15-21; Ex. 4 (Gallegos Tr.) 118:7-23;

            Ex. 15 (Quezada Tr.) 81:8-83:9.

      15.   It is “imperative” that detainees follow the commands of guards

            implementing the Detainee Handbook’s rules, and GEO guards were

            trained to use progressive discipline to gain compliance from detainees who

            failed to do so. Ex. 14 (Ceja 30(b)(6) Tr. II) 105:12-24, 205:1-206:6.

      16.   At least one guard acknowledged that solitary confinement was a potential

            sanction for refusing to clean. Ex. 10 (Pagan Tr.) 173:18-175:9.




                                          36
Case No. 1:14-cv-02887-JLK-CYC         Document 336      filed 10/26/20     USDC Colorado
                                       pg 43 of 84




      17.   Guards further understood that threats of solitary confinement were an

            effective and legitimate way to gain compliance with facility rules, driven

            by detainees’ fear of solitary confinement. Ex. 15 (Quezada Tr.) 141:13-

            142:8; Ex. 10 (Pagan Tr.) 174:2-175:6; see also Ex. 4 (Gallegos Tr.)

            121:21-122:16 (describing solitary confinement as a legitimate method for

            disciplining detainees).

      18.   Detainees cleaned because of threats of solitary confinement. Ex. 3

            (Hernandez Ceren Tr.) 63:9-18 (“I cleaned because of fear.”); Ex. 12

            (Hernandez Torres Tr.) 77:25-78:13 (cleaned because “being that I had

            been through segregation, I didn’t want to go through the same”); Ex. 1

            (Menocal Tr.) 104:21-105:7 (“[W]e had to clean and if not we would be

            punished. . . . Everybody knew it.”); Ex. 9 (Gaytan Tr.) 142:23-144:1 (“The

            procedure was if you don’t follow [the rules], you go to the hole.”); Ex. 13

            (Xahuentitla Tr.) 137:14-19 (“[I]f they tell you ‘clean, because you’re

            going to the hole,’ . . . I’m going to clean. I don’t want to go to the hole.”);

            Ex. 6 (Valerga Tr.) 168:13-169:13 (when he arrived at Aurora, he

            participated in the HUSP “[b]ecause my cellie told me if we didn’t clean,

            we’d go to the hole”).

      19.   GEO followed through on these threats and sent detainees to solitary

            confinement for refusing to clean. ECF No. 262-12 (incident reports); Ex.

            4 (Gallegos Tr.) 170:13-191:23 (verifying that he wrote detainees up




                                            37
Case No. 1:14-cv-02887-JLK-CYC         Document 336     filed 10/26/20   USDC Colorado
                                       pg 44 of 84




            several times for “failure to obey my orders for cleaning details,” resulting

            in their placement in segregation).

      B.    Solitary Confinement

      20.   Solitary confinement “imposes a devastating triad of emotional and

            neuropsychiatric deprivations: social isolation, a barren perceptual

            environment, and deprivation of meaningful mental activity.” Ex. 21

            (Grassian Report) at 10.

      21.   These deprivations can manifest in anxiety, depression, self-harm, stupor or

            delirium, impairments in thinking, concentration, and memory, hyper-

            responsivity to external stimuli, obsessive-compulsive behavior,

            hallucinations, paranoia, delusions, and problems with impulse control. Id.

            at 10-14.

      22.   Although not everyone becomes “psychiatrically ill” from relatively short

            stays in solitary confinement, all people who experience solitary

            confinement “suffer from it.” Ex. 2 (Grassian Tr.) 290:3-8. Put differently,

            solitary confinement causes “a certain baseline of psychiatric harm” in

            those who experience it. Id. 102:4-13.

      23.   Peer-reviewed studies show that relatively short periods in solitary

            confinement – as little as 72 hours – can cause people to experience

            significant distress, including changes to brain-wave patterns and self-harm

            or suicide. Ex. 21 (Grassian Report) at 10 n.6 (citing Ex. 22 (Fatos Kaba,

            “Solitary Confinement and Risk of Self-Harm Among Jail Inmates”) at


                                           38
Case No. 1:14-cv-02887-JLK-CYC       Document 336       filed 10/26/20    USDC Colorado
                                     pg 45 of 84




            442-47 (finding that the risk of self-harm was strongly associated with

            being in solitary confinement, and that self-harm peaked around the time of

            entry to solitary confinement)); id. at 13 n.10 (citing Ex. 23 (Paul

            Gendreau, “Changes in EEG Alpha Frequency and Evoked Response

            Latency During Solitary Confinement”) at 56-57 (finding a consistent

            decline in EEG results of subjects in solitary confinement over the course

            of seven days, with 77% of the decline happening in the first four

            days)); id., Ex. D (Stuart Grassian, “Psychopathological Effects of Solitary

            Confinement”) at 1451 (quoting one patient as saying “As soon as I got in,

            I started cutting my wrists. I figured it was the only way to get out of

            here.”).

      24.   These effects can be long lasting and can include social withdrawal to

            “escape the buzzing confusion of life.” Ex. 21 (Grassian Report) at 15.

      25.   Plaintiff Olga Alexakhina observed how solitary confinement affected other

            detainees, recounting that detainees returning from solitary confinement

            “would take a shower and just lay down. They didn’t want to talk to

            anyone, just laying down.” Id. at 25-26. She remembered one woman in

            particular who was so depressed after returning from solitary confinement

            that other detainees consistently had to rouse her for meals. Id.

      C.    Conditions of Confinement at GEO

      26.   Immigration detainees at GEO were taken from their homes and families

            and placed in a prison-like environment to await either deportation or the


                                           39
Case No. 1:14-cv-02887-JLK-CYC      Document 336       filed 10/26/20   USDC Colorado
                                    pg 46 of 84




            outcome of immigration proceedings that could end in deportation. ECF

            No. 261-8 (2011 PBNDS) at 3.

      27.   Detainees were allowed to keep only small photos of family members,

            softbound reading material, wedding bands (but not engagement rings),

            small religious items, one pair of glasses and dentures, and personal address

            books. All other personal items were considered illegal contraband. ECF

            No. 273-1 (2005 Detainee Handbook) at 6; ECF No. 273-2 (2007 Detainee

            Handbook) at 14-15; ECF No. 273-3 (2008 Detainee Handbook) at 5; ECF

            No. 273-4 (2010 Detainee Handbook) at 5-6; ECF No. 273-5 (2011

            Detainee Handbook) at 6; ECF No. 261-17 (2013 Detainee Handbook) at 8.

      28.   Detainees were housed in bunk beds either in windowless cells or in large

            open rooms, alongside dozens or scores of strangers in front of whom they

            had to eat, sleep, shower, and defecate. Ex. 24 (ICE 0000123 (men’s cell),

            ICE 0000142 (women’s unit)); Ex. 3 (Hernandez Ceren Tr.) 143:5-17:13.

      29.   Showers were communal, and toilets were either located within detainees’

            shared cells or in a designated bathroom area separated from the rest of the

            room by a low wall. Ex. 24 (ICE 0000128 (men’s toilets), ICE 0000116

            (men’s showers), ICE 0000139 (women’s toilets and showers)).

      30.   Detainees had access to a single television set per dorm, which was

            controlled by the guards. ECF No. 273-1 (2005 Detainee Handbook) at 13-

            14; ECF No. 273-2 (2007 Detainee Handbook) at 36-37; ECF No. 273-3

            (2008 Detainee Handbook) at 14; ECF No. 273-4 (2010 Detainee


                                          40
Case No. 1:14-cv-02887-JLK-CYC       Document 336      filed 10/26/20    USDC Colorado
                                     pg 47 of 84




            Handbook) at 12; ECF No. 273-5 (2011 Detainee Handbook) at 13; ECF

            No. 261-17 (2013 Detainee Handbook) at 15.

      31.   Detainee contact with their spouses, children, friends, and family members

            was limited to three hour-long non-contact visits per week. ECF No. 273-1

            (2005 Detainee Handbook) at 11-12; ECF No. 273-2 (2007 Detainee

            Handbook) at 30-32; ECF No. 273-3 (2008 Detainee Handbook) at 11-12;

            ECF No. 273-4 (2010 Detainee Handbook) at 10-11; ECF No. 273-5 (2011

            Detainee Handbook) at 10-11; ECF No. 261-17 (2013 Detainee Handbook)

            at 12-13.

      32.   Contact visitation, in which detainees could briefly hug their visitor upon

            greeting them and saying goodbye, was available only upon special request.

            ECF No. 273-1 (2005 Detainee Handbook) at 11; ECF No. 273-5 (2011

            Detainee Handbook) at 11; ECF No. 261-17 (2013 Detainee Handbook) at

            13. 4

      33.   Detainees had access to telephones, but calls were limited to 20 minutes,

            and had to be made from payphones located in the middle of dorm common

            areas. ECF No. 273-1 (2005 Detainee Handbook) at 12; ECF No. 273-2

            (2007 Detainee Handbook) at 32-33; ECF No. 273-3 (2008 Detainee

            Handbook) at 12-13; ECF No. 273-4 (2010 Detainee Handbook) at 11-12;




4
       The 2007, 2008, and 2010 Detainee Handbooks included no information about
contact visitation.

                                          41
Case No. 1:14-cv-02887-JLK-CYC         Document 336      filed 10/26/20    USDC Colorado
                                       pg 48 of 84




            ECF No. 273-5 (2011 Detainee Handbook) at 11-12; ECF No. 261-17

            (2013 Detainee Handbook) at 14.

      34.   Up to two 80-person pods shared a small concrete recreation space that had

            a single basketball hoop, and either one or two exercise machines. Ex. 24

            (ICE 0000102 (men’s exercise room), ICE 0000152 (women’s exercise

            room)); see also Ex. 3 (Hernandez Ceren Tr.) 144:5-13; Ex. 12 (Hernandez

            Torres Tr.) 50:21-51:14.

      35.   Detainees found the experience of being in detention frightening and

            isolating. See Ex. 9 (Gaytan Tr.) 28:22-29:2, 48:20-50:2 (“[I]t was scary to

            be in there . . . with a bunch of people you don’t even know,” many of

            whom were older than him); Ex. 13 (Xahuentitla Tr.) 137:4-19 (being in

            detention, “you feel this pressure, you feel . . . very depressed for the

            situation you’re in at the moment”); Ex. 12 (Hernandez Torres Tr.) 29:1-6,

            15:20-23 (being separated from his daughters caused “a lot of suffering.”),

            49:8-52:20 (explaining that the guards “would put us all together like

            animals, like shit. . . and they say, ‘Well, now you do what I want,’” and

            noting that it was very stressful having to share small space with loud,

            messy strangers); Ex. 1 (Menocal Tr.) 48:13-24, 67:8-69:9 (told family

            members that conditions at Aurora were good, but in truth “it was not the

            prettiest place” – for example, the food made people ill and the showers

            were moldy).




                                           42
Case No. 1:14-cv-02887-JLK-CYC          Document 336     filed 10/26/20    USDC Colorado
                                        pg 49 of 84




      36.   GEO did not always serve detainees enough food or provide them with

            enough basic supplies, like toiletries, and detainees had to augment the

            inadequate diet and supplies with purchases from the commissary. Ex. 9

            (Gaytan Tr.) 9:19-10:11; Ex. 3 (Hernandez Ceren Tr.) 148:24-149:21.

      37.   The orientation video shown to detainees at least through 2007 informed

            them that failure to follow facility rules could lead to disciplinary action

            causing “a negative effect on your case before the government, so the best

            rule is to stay out of trouble during your stay here.” Ex. 25 (Orientation

            Video Script, GEO_MEN 00056575-81) at GEO_MEN 00056576

            (emphasis in original); Ex. 26 (Orientation Video Script, GEO-MEN

            00075173-83) at GEO-MEN 00075174 (emphasis in original). Although

            this statement was removed from orientation materials, the threat remained

            present throughout the class period. Ex. 14 (Ceja 30(b)(6) Tr. II) 95:25-

            96:10; see also Ex. 3 (Hernandez Ceren Tr.) 78:10-80:24 (describing an

            incident where detainees refused to clean and a GEO sergeant threatened

            that the refusal and resulting discipline was “not going to look good when

            this gets to the judge”).

      38.   Detainees were aware that not following the rules could impact the outcome

            of their immigration cases. Ex. 3 (Hernandez Ceren Tr.) 167:1-170:13

            (going to solitary confinement “was going to destroy my immigration case

            if I went there”); Ex. 9 (Gaytan Tr.) 12:1-13 (avoided getting in trouble




                                            43
Case No. 1:14-cv-02887-JLK-CYC       Document 336        filed 10/26/20   USDC Colorado
                                     pg 50 of 84




            because “I was afraid that it was going to be against my case for doing

            something against GEO”).

      D.    GEO’s Contracting Practices

      39.   When bidding a contract, GEO seeks to offer a price that is both fair to the

            government and less than it would cost the government to operate the

            facility itself. Ex. 27 (Evans Tr.) 36:4-6, 50:18-21. In other words, one of

            GEO’s goals in developing its bid price is to offer a price the government is

            willing to pay. Id. 72:13-16.

      40.   GEO’s total bid amount represents the costs to execute the contract as well

            as GEO’s desired profit margin, typically an additional 15% of the total

            cost. Id. 63:18-25.

      41.   The largest of these costs is the labor required to operate the facility. Ex.

            17 (Venturella Tr.) 155:21-25.

      42.   Cost is an important component of the contract because during the class

            period ICE’s practice was to accept the lowest bid offered, provided the

            contractor had a satisfactory performance record. Id. 154:6-16.

      43.   Keeping costs, and thus the total bid price, low retains its importance even

            when GEO is the only entity bidding on the contract, as with the Aurora

            facility, because the government provides extra scrutiny to such “sole

            source bids.” Ex. 27 (Evans Tr.) 22:10-23:18, 24:3-17.

      44.   Recognizing that keeping the total bid price low and offering the

            government a fair price is important even in the context of a sole source


                                            44
Case No. 1:14-cv-02887-JLK-CYC       Document 336        filed 10/26/20    USDC Colorado
                                     pg 51 of 84




            bid, GEO uses the same pricing strategy regardless of whether the bid is

            sole source or competitive. Ex. 17 (Venturella Tr.) 164:23-165:23.

      45.   When GEO wins a contract with ICE, the amount of money that ICE pays

            GEO during each year of the contract is set at the time the contract is

            executed. Ex. 27 (Evans Tr.) 74:10-21.

      46.   Once the contract terms and pricing are set, GEO bears the risk of any

            increased costs to operating the facility beyond what is provided for in the

            contract, including increased costs of labor. Id. 76:11-22.

      47.   This risk is to GEO’s profit: for GEO to make the profit that it anticipates

            on a contract, it must maintain the costs of running the facility at the

            amount set forth in the contract at the time of execution. Id. 76:23-77:5.

      48.   ICE will not reimburse GEO for more than $1 per day in detainee wages. 8

            U.S.C. § 1555(d); Appropriations Act, Immigration and Naturalization

            Service Salaries and Expenses, Pub. L. No. 95-431, 92 Stat. 1021 (1978).

      49.   ICE does not prohibit its contractors from paying more than $1.00 per day

            for work performed in the VWP. Ex. 18 (A. Martin Tr.) 106:11-107:22,

            110:10-13; ECF No. 261-8 (2011 PBNDS) at 53 (compensation for VWP

            work is “at least $1.00 (USD) per day” (emphasis added)); see also ECF

            No. 261-18 (VWP Pay Rates, GEO-MEN 00170339); ECF No. 287-13

            (VWP Pay Rates at GEO’s South Texas Facility) at 11-12.




                                           45
Case No. 1:14-cv-02887-JLK-CYC         Document 336       filed 10/26/20    USDC Colorado
                                       pg 52 of 84




       50.    As a result, GEO could pay detainees more than $1 per day but must bear

              the costs of doing so. Ex. 18 (A. Martin Tr.) 107:18-22; Ex. 19 (Ragsdale

              30(b)(6) Tr.) 167:4-6.

       51.    GEO estimates that replacing detainee labor with full time employees at all

              of its ICE-contracted facilities nationwide would cost a substantial amount

              of money. Ex. 16 (GEO-MEN 00187770) (May 30, 2018 Letter).

       52.    Detainees understood that once GEO set the rate of pay for the VWP at $1

              per day, the rate was not negotiable. Ex. 3 (Hernandez Ceren Tr.) 158:10-

              15.

       53.    The “Detainee Voluntary Work Program Agreement” is not an employment

              contract and does not create any rights or obligations for either GEO or the

              detainee who signs it. Ex. 8 (Ceja Tr. I) 147:20-150:18.

IV.    LEGAL STANDARD

       A.     Summary Judgment

       Summary judgment is proper where “the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.”

Fed. R. Civ. P. 56(a). A fact is material when “under the substantive law it is essential to

the proper disposition of the claim.” Adler v. Wal-Mart Stores, Inc., 144 F.3d 664, 670

(10th Cir. 1998). A dispute of material fact is genuine and precludes summary judgment

where “the evidence is such that a reasonable jury could return a verdict for the

nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). Courts

applying the summary judgment standard “view the factual record and draw all


                                             46
Case No. 1:14-cv-02887-JLK-CYC           Document 336        filed 10/26/20     USDC Colorado
                                         pg 53 of 84




reasonable inferences therefrom most favorably to the nonmovant.” Adler, 144 F.3d at

670.

       B.     The TVPA

       Congress enacted the Trafficking Victims’ Protection Act in 2000 to combat the

“increasingly subtle” means of coercion used to compel modern-day forced labor. United

States v. Dann, 652 F.3d 1160, 1169 (9th Cir. 2011) (quoting H.R. Rep. No. 106-939, at

101 (2000) (Conf. Rep.), as reprinted in 2000 U.S.C.C.A.N. 1380, 1392-93); see also

United States v. Bradley, 390 F.3d 145, 150 (1st Cir. 2004) (noting that the statute

encompasses “not only physical violence, but also more subtle psychological methods of

coercion”), judgment vacated on other grounds, 545 U.S. 1101 (2005). In furtherance of

this goal, the TVPA prohibits defendants from “knowingly . . . obtain[ing] the labor or

services of a person by means of” one or a combination of:

       (1) . . . force, threats of force, physical restraint, or threats of physical restraint to
       that person or another person;
       (2) . . . serious harm or threats of serious harm to that person or another person;
       (3) . . . the abuse or threatened abuse of law or legal process; or
       (4) . . . any scheme, plan, or pattern intended to cause the person to believe that, if
       that person did not perform such labor or services, that person or another person
       would suffer serious harm or physical restraint.

18 U.S.C. § 1589(a).

       The statute was enacted in response to the Supreme Court’s holding in United

States v. Kozminski, 487 U.S. 931 (1988), which had “limited the definition of

involuntary servitude to ‘physical’ or ‘legal’ coercion.” Dann, 652 F.3d at 1169 (quoting

Kozminski, 487 U.S. at 952). In accordance with the intent to broaden the definition of

trafficking, the TVPA “defines harm broadly,” see id, to include:


                                               47
Case No. 1:14-cv-02887-JLK-CYC          Document 336       filed 10/26/20    USDC Colorado
                                        pg 54 of 84




       any harm, whether physical or nonphysical, including psychological, financial, or
       reputational harm, that is sufficiently serious, under all the surrounding
       circumstances, to compel a reasonable person of the same background and in the
       same circumstances to perform or to continue performing labor or services in
       order to avoid incurring that harm.

18 U.S.C. § 1589(c)(2).

V.     ARGUMENT

       A.     Material Disputes of Fact Preclude Summary Judgment on the Class’s
              TVPA Claims.

       Throughout the class period, GEO systematically compelled detainee Class

Members to perform unpaid janitorial work under its HUSP, using the threat of solitary

confinement to ensure uniform compliance. GEO guards in each housing unit developed

a list of unpaid detainees each day who were required to clean the housing unit common

areas after each meal. SAF ¶ 9. Class Members scrubbed tables and chairs, swept and

mopped floors, and cleaned common-use equipment such as microwaves, phones,

showers, and toilets. Id. ¶ 10. Despite GEO’s attempts to muddle the record, the HUSP

cleaning tasks are distinct from the personal housekeeping requirements in the PBNDS,

which limit the unpaid tasks detainees may perform to “maintain[ing] their immediate

living areas in a neat and orderly manner by” 1. making their beds; 2. stacking loose

papers; 3. keeping the floor free of debris and dividers free of clutter; and 4. refraining

from hanging/draping clothing, pictures, keepsakes, or other objects from beds, overhead

lighting fixtures or other furniture. Id. ¶ 11. Plaintiffs’ TVPA claims center on the




                                              48
Case No. 1:14-cv-02887-JLK-CYC          Document 336       filed 10/26/20    USDC Colorado
                                        pg 55 of 84




additional cleaning required by the HUSP, beyond those personal housekeeping

requirements. 5 ECF No. 1 (Complaint) at ¶ 54.

       Although GEO persistently misrepresents in its motion that the sole evidence of

the HUSP and attendant threats of solitary confinement is contained in the Detainee

Handbook, see, e.g., ECF No. 305 (Def.’s SJ Br.) at 23, that is just one piece of evidence

of a broader course of conduct. Detainees received the Detainee Handbook when they

first arrived at Aurora. SAF ¶ 1. The Handbook describes the HUSP, telling detainees:

       Each and every detainee must participate in the facility’s sanitation program. A list
       of detainees is developed each day by staff and is posted daily for viewing. During
       a general cleanup all detainees must participate. The assigned Housing Unit
       Officer will be responsible for assuring this general cleanup is done on a regular
       basis.

Id. ¶ 4. It also sets forth a series of escalating punishments for non-participation, starting

with a television shutoff and a prohibition on “any programs/activities.” Statement of

Undisputed Facts (“SUF”) ¶ 9. 6 If that fails to gain compliance, detainees are told,

“[c]ontinued refusal to clean will result in further disciplinary action.” Id.

       Elsewhere, the handbook sets out the disciplinary scale, which makes clear that

“further disciplinary action” includes placement in solitary confinement. Id. ¶ 12.

Threats of solitary confinement for failure to clean were repeated by GEO guards, who



5
       GEO attempts to sow confusion by also conflating the HUSP with work under the
VWP, but these programs are distinct, and the TVPA claims do not concern VWP work.
See ECF No. 1 (Complaint) ¶ 54. Detainees participating in the VWP were part of a
distinct work program where workers were paid $1/day, which Plaintiffs contend unjustly
enriched GEO. Id.
6
       This sanction is specifically for refusal to clean up after other detainees, not VWP
work or personal housekeeping work.

                                              49
Case No. 1:14-cv-02887-JLK-CYC          Document 336       filed 10/26/20   USDC Colorado
                                        pg 56 of 84




would, for example, pull out a roll of trash bags and tell non-compliant detainees, “pack

your stuff. You’re going to the hole.” SAF ¶ 13.i. These threats were carried out in

front of entire 80-bed dormitories, leaving detainees with little doubt that the threats had

teeth. See id. ¶ 13. GEO guards were trained to carry out the disciplinary scale in the

handbook. Id. ¶ 14. 7 Guards acknowledged in deposition testimony that threats of

solitary confinement were a legitimate way to gain compliance from unwilling detainees,

and that the mere threat of solitary confinement was sufficient to motivate detainees to

follow facility rules, because they were afraid of it. Id. ¶ 17. These threats were not

theoretical: GEO actually sent detainees to solitary confinement for refusing to clean

under the HUSP throughout the class period. Id. ¶ 19.

              1.     GEO’s Forced Labor Scheme Included Threats of Serious Harm
                     and Physical Restraint.

       GEO’s argument that Plaintiffs will be unable to show that they suffered “serious

harm” under the TVPA misinterprets the law and misrepresents the facts. The TVPA

requires some combination of serious harm or restraint, or threats of the same. 18 U.S.C.

§ 1589(a). GEO does not argue (and it is hard to imagine how it could) that solitary

confinement does not constitute physical restraint. See, e.g., Bridges v. Poe, No. 19 Civ.

1399, 2020 WL 5408915, at *7 (N.D. Ala. Sept. 9, 2020) (“‘Confinement’ to a jail cell

that restricts an inmate’s freedom of movement certainly meets the ordinary meaning of


7
       To the extent that guards’ rehabilitative declarations contradict this testimony, the
declarations may be excluded under the sham affidavit rule. See, e.g., Lantec, Inc. v.
Novell, Inc., 306 F.3d 1003, 1016 (10th Cir. 2002). However, since the declarations
themselves create an issue of fact when held alongside the same witnesses’ deposition
testimony, they preclude summary judgment even if the Court chooses to consider them.

                                             50
Case No. 1:14-cv-02887-JLK-CYC          Document 336       filed 10/26/20   USDC Colorado
                                        pg 57 of 84




‘physical restraint.’”); see also United States v. Thompson, 109 F.3d 639, 641 (9th Cir.

1997) (“physical restraint” as used in sentencing guidelines means, inter alia, “tied,

bound, or locked up”). This alone is sufficient for the Court to deny GEO’s Motion for

Summary Judgment on this aspect of Plaintiffs’ TVPA claims.

       Even as to the one prong of the TVPA that GEO squarely addresses, disputes of

material fact preclude summary judgment as to whether detainees suffered or were

threatened with serious harm. The TPVA provides a far more expansive definition of

serious harm than GEO concedes: such harm can be “physical or non-physical, including

psychological, financial, or reputational,” as long as it would compel a reasonable person

under similar circumstances to work. 18 U.S.C. § 1589(c)(2). “[T]he extremity of force

is . . . not a determinant of forced labor[.]” United States v. Toviave, 761 F.3d 623, 626–

27 (6th Cir. 2014). As a result, courts routinely reject the argument GEO makes here,

that the TVPA “only protects victims from the most heinous human trafficking crimes.”

Nunag-Tanedo v. E. Baton Rouge Par. Sch. Bd., 790 F. Supp. 2d 1134, 1145 (C.D. Cal.

2011); see also Toviave, 761 F.3d at 626-27 (“[P]aradigmatic forced labor, such as

prostitution, forced sweatshop work, or forced domestic service, may be federally

criminal even though the force is not physical at all, but merely psychological, such as

isolation and pretended threats to the victim’s friends or relations.”).

       GEO’s argument to the contrary conflates two prongs of the TVPA. See ECF No.

306 (Def.’s SJ Br.) at 24. A defendant violates the TVPA when they cause serious harm

or when they threaten serious harm. As noted above, serious harm is defined broadly

under the TVPA as conduct that would cause a reasonable person to work to avoid


                                              51
Case No. 1:14-cv-02887-JLK-CYC           Document 336       filed 10/26/20     USDC Colorado
                                         pg 58 of 84




experiencing it; actually suffering serious harm is not a prerequisite for liability. 18

U.S.C. § 1589(c)(2). To prevail on their claims, what Plaintiffs must show is that solitary

confinement itself, rather than threats of solitary confinement, is a serious harm.

       Discovery has revealed more than enough evidence from which the jury can

conclude that it is. GEO guards were trained to use escalating forms of persuasion and

discipline to gain compliance from detainees. SAF ¶ 15. And detainees testified that

they were frightened of being placed in solitary confinement for refusing to perform

HUSP work, and that their fear motivated them to comply with guards’ orders. Id. ¶ 18.

As Grisel Xahuentitla testified: “they’re, of course, not – they’re not whispering you to

your ear. They’re loud, and so they – so you feel a little intimidated . . . . if they tell you

‘clean, because you’re going to the hole,’ . . . I’m going to clean. I don’t want to go to

the hole.” Id. Guards recognized the coercive effect of this fear. Id.

       This fear of solitary confinement was objectively reasonable. Solitary

confinement is associated with symptoms such as anxiety, depression, self-harm, stupor

or delirium, impairments in thinking, concentration, and memory, hyper-responsivity to

external stimuli, obsessive-compulsive behavior, hallucinations, paranoia, delusions, and

problems with impulse control. Id. ¶ 21. Peer-reviewed studies show that many of these

symptoms can appear within 72 hours or less of solitary confinement. Id. ¶ 23. Effects

can be long-lasting, and can include social withdrawal to “escape the buzzing confusion

of life.” Id. ¶ 24. Plaintiff Olga Alexakhina witnessed these effects in other detainees

whom GEO placed in solitary confinement; Dr. Grassian recounts that in her interview

with him, she reported that detainees returning from confinement “would take a shower


                                               52
Case No. 1:14-cv-02887-JLK-CYC          Document 336       filed 10/26/20    USDC Colorado
                                        pg 59 of 84




and just lay down. They didn’t want to talk to anyone, just laying down.” Id. ¶ 25. She

recalled that one woman who returned from solitary confinement was so depressed that

other detainees consistently had to rouse her for meals. Id. 8

              2.     GEO’s Threats of Serious Harm Were Pervasive.

       GEO also appears to argue that Plaintiffs and Class Members could not have been

threatened with serious harm because they were only rarely placed in solitary

confinement for refusing to clean. ECF No. 306 (Def.’s SJ Br.) at 25-26. This argument

raises the key dispute of material fact that the jury must resolve at trial: whether Class

Members worked to avoid solitary confinement. Supra, § IV.A.1. A reasonable jury

could easily find that although most detainees were not placed in solitary confinement,

they performed labor under the HUSP precisely because the threats worked.

       Although GEO makes broad claims that refusal to clean “most often . . . resulted

in no consequence,” or that “none of the detainees were sent to segregation, despite many

of them refusing to clean,” ECF No. 306 (Def.’s SJ Br.) at 26, these contentions are

misleading and, at the very least, in conflict with other facts in the record. The testimony

of GEO’s guards is directly contrary to Plaintiffs’ testimony. Plaintiffs’ Response to SUF

¶ 40; see also SAF ¶¶ 18-19. And even the guards testified that they were trained to


8
        After being detained at GEO, Olga Alexakhina was deported to Russia, which
does not permit the taking of voluntary depositions of willing witnesses. See
https://travel.state.gov/content/travel/en/legal/Judicial-Assistance-Country-
Information/RussianFederation.html. Efforts to depose Alexakhina in another country
that is not subject to these logistical hurdles have been hindered by the COVID-19
pandemic. Scimone Decl. ¶ 10. GEO is aware of these circumstances and has not
suggested alternatives. Id. ¶¶ 9-11. Plaintiffs remain prepared to present Alexakhina for
deposition if and when it becomes possible. Id. ¶ 12.

                                             53
Case No. 1:14-cv-02887-JLK-CYC          Document 336       filed 10/26/20    USDC Colorado
                                        pg 60 of 84




enforce the rules and punishments in the handbook, SAF ¶ 14, and applied the

handbook’s progressive discipline scale, starting with a verbal warning/reprimand or loss

of privileges, when a detainee refused to clean. Id. ¶ 15. Their superior, Assistant

Warden and 30(b)(6) witness Dawn Ceja, also testified that guards were expected to

enforce the rules in the Detainee Handbook. Id. ¶ 3. The handbook itself says both that

“The assigned Housing Unit [or Dorm] Officer will be responsible for assuring this

general cleanup is done on a regular basis,” id. ¶ 4, and that if detainees do not “do their

share,” then “Action will be taken to resolve this problem.” Id. ¶ 5.

        Finally, documentary evidence makes clear that guards not only threatened but

actually sent detainees to solitary confinement for refusing to clean throughout the class

period. Id. ¶ 19. The record contains more than enough evidence for a reasonable jury to

reject GEO’s characterization of the facts.

              3.     Detainees’ Uniform Conditions of Confinement Made them
                     Especially Vulnerable to Coercion.

       The evidence that solitary confinement is a form of serious harm is bolstered by

detainees’ conditions of confinement. Detainee Class Members were taken from their

homes and families and placed in a prison-like environment to await possible deportation

to countries to which they did not wish to return. SAF ¶ 26. They were housed in bunk

beds either in windowless cells or in large open rooms, alongside dozens of strangers in

front of whom they had to eat, sleep, shower, and defecate. Id. ¶ 28. All detainees in a

dorm unit shared communal television sets, and a small recreation space containing a

basketball hoop and one or two weight machines. Id. ¶¶ 30, 34. Although GEO argues



                                              54
Case No. 1:14-cv-02887-JLK-CYC          Document 336       filed 10/26/20    USDC Colorado
                                        pg 61 of 84




that detainees were “not deprived of social opportunities,” see ECF No. 306 (Def.’s SJ

Br.) at 27, they could socialize only with the other strangers with whom they were

imprisoned. SAF ¶¶ 28, 31-32, 35. Their contact with the outside world, including their

spouses, children, parents, and friends, was limited to one-hour non-contact visits three

times a week and 20-minute phone calls made from communal payphones, which were

located in the middle of the dorms and shared among all detainees. Id. ¶¶ 31-33. This

environment took a toll. Plaintiff Gaytan, who was arrested two weeks after graduating

from high school and sent to Aurora shortly thereafter, testified that “it was scary to be in

there . . . with a bunch of people you don’t even know,” many of whom were far older

than him. Id. ¶ 35. Plaintiff Xahuentitla captured a similar sentiment, expressing that,

“[w]hen you are inside, you . . . feel this pressure, you feel this emotional[] depress[ion].”

Id. And those feelings were exacerbated by the lack of connection to family: Class

Member Alejandro Hernandez Torres testified about his efforts to keep his hope of

release alive, saying “I made great efforts to be busy most of the time staying away from

problems for people who had conflict in my wish and hope to be released. I had the hope

to see my family and my daughters.” Id.

       In this context, GEO’s contention that detainees were “largely free to do what they

wanted during the day” is a subjective characterization that the jury should evaluate for

itself. See ECF No. 306 (Def.’s SJ Br.) at 27. And contrary to GEO’s argument that the

conditions at Aurora are a far cry from the circumstances that the Fourth Circuit

described as “[t]ypical[]” forced labor situations in Muchira v. Al-Rawaf, 850 F.3d 605

(4th Cir. 2017), the analysis in that case is remarkably fitting:


                                              55
Case No. 1:14-cv-02887-JLK-CYC          Document 336       filed 10/26/20     USDC Colorado
                                        pg 62 of 84




       “[F]orced labor” situations involve circumstances such as squalid or otherwise
       intolerable living conditions, extreme isolation (from family and the outside
       world), threats of inflicting harm upon the victim or others (including threats of
       legal process such as arrest or deportation), and exploitation of the victim’s lack of
       education and familiarity with the English language, all of which are “used to
       prevent [vulnerable] victims from leaving and to keep them bound to their
       captors.”

Id. at 618-19 (quoting United States v. Callahan, 801 F.3d 606, 619 (6th Cir. 2015)). A

jury could easily conclude that being forced to share a cramped cell with strangers is an

“intolerable living condition[]”; or that being imprisoned constitutes “isolation []from

family and the outside world.” While none of these conditions is necessary under the

TVPA for liability to attach, see supra § V.A.1, they all inform the analysis of whether

hearing threats of solitary confinement was likely to keep detainees from resisting or

refusing to perform unpaid labor.

       In addition, all Detainee Class Members were exposed to the possibility of

deportation by the nature of their confinement. The jury could conclude not only that this

fact heightened their vulnerability to threats, but also that GEO knew of this vulnerability

and specifically sought to exploit it. For example, until at least 2007, the video shown to

detainees upon their arrival at the Aurora facility told them that failure to follow facility

rules could lead to disciplinary action causing “a negative effect on your case before the

government, so the best rule is to stay out of trouble during your stay here.” SAF ¶ 37.

Guards, too, ensured that detainees were acutely aware of the connection between

discipline and deportation; Plaintiff Hernandez Ceren described an instance where a GEO

sergeant told an entire housing pod that if detainees refused to clean, “I’m going to make

sure that GEO sends their documents to the court . . . . and the judge is going to see if she


                                              56
Case No. 1:14-cv-02887-JLK-CYC         Document 336       filed 10/26/20   USDC Colorado
                                       pg 63 of 84




wants to leave you here in the country, so you can go back to your family . . . . you’re not

going to look good when this gets to the judge.” Id.

             4.      Placement in Solitary Confinement Is Not a “Legitimate
                     Consequence” of Refusing to Perform Unpaid Labor.

       GEO’s argument that a “warning of legitimate consequences” is not actionable

under the TVPA fundamentally misinterprets legal precedent in an attempt to turn

substantive law into a meaningless tautology. It is true that courts have observed that

factual statements of lawful consequences for refusing to perform labor may not rise to

the level of a TVPA violation, depending on the context. But whether or not a

consequence is “legitimate” is a fact-bound determination that hinges on the way the

threats are deployed as well as the surrounding circumstances – in other words, a

quintessential jury question.

       Indeed, many of the cases GEO relies on upheld a jury’s verdict under the TVPA

despite the defendants’ protestations that they had merely given neutral warnings of

potential negative outcomes. For example, while the court in Bradley noted that it might

not violate the TVPA to inform workers that they will stop earning wages if they stop

working, the panel rejected the defendant’s argument that he had provided only “innocent

warnings” where the record showed that he had taken his employees’ passports,

threatened them with violence, and restricted their local travel. 390 F.3d at 151-52 (“[I]n

an appropriate case we think that the court in instructing the jury would be required to

draw a line between improper threats or coercion and permissible warnings of adverse

but legitimate consequences.” (emphasis added)). Similarly, in Calimlim, the Seventh



                                             57
Case No. 1:14-cv-02887-JLK-CYC         Document 336       filed 10/26/20   USDC Colorado
                                       pg 64 of 84




Circuit upheld a jury verdict finding employers guilty of violating the TVPA for

providing “warnings” to their employee that she was in the United States illegally and

therefore subject to deportation. 538 F.3d 706, 714, 718 (7th Cir. 2008). Although these

statements were true, they could also “reasonably be viewed as a scheme to make [the

employee] believe that she or her family would be harmed if she tried to leave.” Id. at

713. The judgment as to whether the statements were threats was therefore properly left

to the jury. Id.

       Courts that have granted summary judgment for defendants have done so where

the negative consequences of failing to work were simply objective facts outside the

employer’s control, or were unrelated to the work itself. For example, in Muchira, there

was no evidence that the plaintiff’s employers had even warned her of the possibility of

deportation; she just understood that was a potential consequence under the terms of her

visa. 850 F.3d at 624. In Headley v. Church of Scientology Int’l, 687 F.3d 1173 (9th Cir.

2012), the record “overwhelmingly” showed that the plaintiffs worked for the Church of

Scientology because “they believed that it was the right thing to do, because they enjoyed

it, and because they thought that by working they were honoring the commitment that

they each made and to which they adhered.” Id. at 1179-80. The consequences of which

they complained – that they would lose contact with family, friends, or each other – were

associated with leaving their church, not their jobs, and were constitutionally protected as

“shunning” under the Constitution’s Free Exercise Clause. Id. at 1180.

       Moreover, the distinction between a “legitimate consequence” and a violation of

the TVPA is not, as GEO would have it, a question of the severity of the punishment or


                                            58
Case No. 1:14-cv-02887-JLK-CYC         Document 336       filed 10/26/20    USDC Colorado
                                       pg 65 of 84




threatened punishment for refusing to work. 9 This is made explicit in Toviave, which,

contrary to GEO’s position, “did not hold that household chores do not constitute labor or

services.” United States v. Callahan, 801 F.3d 606, 620 (6th Cir. 2015), or that beating

people with broomsticks (as the defendant did in that case) is a legitimate consequence

for a violation of “seemingly arbitrary rules.” See ECF No. 306 (Def.’s SJ Br.) at 28.

Rather, Toviave held that the TVPA did not apply to matters implicating “the rights of

parents and guardians to the custody of their minor children and wards,” id. at 626

(quoting Kozminski, 487 U.S. at 944), which is not relevant to this case.

       At its core, GEO’s argument that solitary confinement is a legitimate consequence

for failing to clean rehashes the argument it made in the context of the parties’ cross-

motions for summary judgment on the issue of derivative sovereign immunity: that the

labor compelled under the HUSP was merely “basic housekeeping tasks” permitted under

the PBNDS. See ECF No. 260 (Pls.’ DSI MSJ Br.), 284 (Def.’s DSI MSJ Br.). As

Plaintiffs set forth in detail in that briefing, undisputed evidence shows that the work

compelled under the HUSP went far beyond the PBNDS, and was explicitly prohibited

under GEO’s contract. ECF No. 260 (Pls.’ DSI MSJ Br.) at 33-36. The decision in

Barrientos v. CoreCivic, Inc., 951 F.3d 1269 (11th Cir. 2020), acknowledges the

significance of the distinction between basic housekeeping and forced labor, holding that

while the disciplinary measures set forth in the ICE disciplinary severity scale do not, “on

their own,” give rise to liability under the TVPA, id. at 1277 n.5 (emphasis added), a


9
      Even if it were, substantial evidence supports Plaintiffs’ position that solitary
confinement is a severe punishment. Supra § V.A.1.

                                             59
Case No. 1:14-cv-02887-JLK-CYC         Document 336       filed 10/26/20    USDC Colorado
                                       pg 66 of 84




government contractor may violate the TVPA if it forces detainees to perform forced

labor beyond personal housekeeping tasks. Id. at 1277. Notably, the Barrientos court

interpreted the PBNDS according to its plain meaning to limit permissible unpaid labor to

“basic required tasks,” such as detainees “‘making their bunk beds daily,’ ‘stacking loose

papers,’ and ‘keeping the floor free of debris.’” Id. at 1272. “Beyond these basic

required tasks,” the court noted, “detainees ‘shall not be required to work.’” Id. (quoting

the PBNDS).

              5.     A Jury Could Conclude That GEO Intended its Threats to
                     Compel Unpaid Labor.

       To prevail on claims under the “threats of serious harm” prong of the TVPA,

plaintiffs must show that the defendant “not just threaten[ed] serious harm but . . .

intended [detainees] to believe that such harm would befall [them].” Dann, 652 F.3d at

1170. There is ample evidence in the record from which a jury could conclude that GEO

intended detainees to believe its threats of solitary confinement, because GEO actually

did place detainees in solitary confinement for refusing to clean. SAF ¶ 19. Even when

guards did not ultimately need to place resistant detainees in solitary, they made it clear

that they would do so: Plaintiff Hugo Hernandez Ceren testified that when detainees

refused to clean, he witnessed guards pull out a roll of trash bags and tell them to “pack

your stuff. You’re going to the hole.” Id. ¶ 13.i. Similar confrontations happened

“multiple times with different guards.” Id.

       While it may be true that guards sometimes did not need to impose – or even

threaten – solitary confinement to compel detainees to work, this does not compel



                                              60
Case No. 1:14-cv-02887-JLK-CYC          Document 336       filed 10/26/20    USDC Colorado
                                        pg 67 of 84




summary judgment or absolve GEO of liability. To the contrary, it is entirely consistent

with Plaintiffs’ theory of the case: detainees who refused to work were subject to a range

of discipline, including solitary confinement. See ECF No. 1 (Complaint) ; Menocal v.

GEO Grp., Inc., 882 F.3d 905, 911 (10th Cir. 2018) (“Under the disciplinary system,

detainees who refused to perform their cleaning assignments faced a range of possible

sanctions.”). The Detainee Handbook makes clear that if milder punishments, such as

turning off the television or prohibiting detainees from participating in activities, do not

compel detainees to work, then guards will resort to harsher punishments. SAF ¶ 6.

Solitary confinement was listed among those punishments. Id. ¶¶ 8-9. The Detainee

Handbook also states that detainees “will be held accountable for [their] actions while in

custody at [Aurora]” and that “[t]herefore, it is each detainee’s responsibility to become

familiar with the contents of this handbook.” Id. ¶ 2.

       GEO guards and administrators confirmed that they intended detainees to believe

that facility rules – including that detainees could be placed in solitary confinement for

refusing to clean – would be enforced. GEO guards confirmed in their depositions that

solitary confinement was an appropriate punishment for continued noncompliance. Id. ¶

16; Plaintiffs’ Response to SUF ¶ 43. And GEO’s 30(b)(6) witness confirmed that it was

“imperative” that detainees “respond to every command and directive” made to them,

including respecting the commands of detention officers. Id. ¶ 15. In fact, in its own

motion, GEO states that “[a]s a matter of logic and reason, detention facilities must have

the ability to impose some level of discipline in order to preserve a safe and secure

environment for those housed there.” ECF No. 306 (Def.’s SJ Br.) at 29. This statement


                                             61
Case No. 1:14-cv-02887-JLK-CYC          Document 336       filed 10/26/20   USDC Colorado
                                        pg 68 of 84




highlights the illogic of GEO’s theory of the case – that the sanitation policy, despite the

wording in the handbook, was optional, even though guards enforced every single other

rule – underscoring the need to have a jury test the credibility of GEO’s position.

       To the extent that GEO’s argument relies on the position that GEO subjectively

did not intend detainees to find the looming threat of solitary confinement threatening,

that is not a summary judgment issue. In Calimlim, 538 F.3d at 713, the defendants

argued on appeal that “nothing they said or did to [the victim] amounted to a threat. To

the contrary . . . they meant her no harm and were only telling her these things in her best

interest.” Id. The Seventh Circuit held that a “reasonable person” could have viewed the

defendants’ statements as a threat, and held: “Perhaps another jury might have accepted

this story, but the one that heard their case did not.” Id. The jury here deserves the

opportunity to weigh the evidence and make that evaluation itself.

       Finally, and once again: The HUSP was a GEO program, developed by GEO. ICE

did not draft or negotiate the HUSP, and it was not required by GEO’s contract with ICE.

SAF ¶ 12. Not only did ICE (via the PBNDS) not require that detainees be forced to

clean common areas without pay, it prohibited such cleaning. Id. ¶ 11. GEO’s argument

that it was only following ICE’s orders when it published and implemented the

disciplinary severity scale is not only irrelevant to whether it intended detainees to

believe serious harm might befall them, it is also controverted by undisputed evidence.




                                             62
Case No. 1:14-cv-02887-JLK-CYC         Document 336       filed 10/26/20    USDC Colorado
                                       pg 69 of 84




              6.     The Jury Can Infer That Class Members Cleaned Because of
                     Fear of Solitary Confinement.

       This Court has previously held that, to prevail on their claims under the TVPA,

Plaintiffs must demonstrate that “a reasonable person would respond [to threats] in a

similar way as the victims” and that they must show that the victims “actually labored

because of the perpetrator’s conduct.” Menocal, 320 F.R.D. at 266-67. 10 The Tenth

Circuit has made clear that the causation element is subject to classwide proof in the form

of common circumstantial evidence. See Menocal v. GEO Grp., Inc., 882 F.3d 905, 918

(10th Cir. 2018). For example, the jury could conclude that threats of solitary

confinement compelled detainees to work via evidence that: (1) detainees “received

notice of the Sanitation Policy’s terms, including the possible sanctions for refusing to

clean,” and (2) that detainees “performed housing unit cleaning work for GEO when

assigned to do so.” Id. at 919-20.

       There is evidence in the record both that detainees received notice of the HUSP

and attendant consequences for refusing to participate, and that detainees participated in

the HUSP. SAF ¶¶ 1, 6-8, 18. Moreover, as discussed in greater detail in Plaintiffs’

contemporaneously-filed opposition to GEO’s decertification motion, the testimony that

GEO has cherry-picked from Plaintiffs’ depositions does not show that they participated

in the HUSP for reasons other than the fear that they would be placed in solitary



10
      Recent authority since the Court’s ruling on class certification calls into question
the Court’s prior conclusion that there is a subjective element to TVPA causation. This
argument is set forth in more detail in Plaintiffs’ contemporaneously-filed opposition to
GEO’s decertification motion. Pls.’ Decert. Opp. Br. at 25-33.

                                             63
Case No. 1:14-cv-02887-JLK-CYC         Document 336      filed 10/26/20    USDC Colorado
                                       pg 70 of 84




confinement if they refused. See Pls.’ Decert. Opp. Br. at 39-45. To the contrary, the

named Plaintiffs testified uniformly that they performed HUSP work because of those

threats. SAF ¶ 18. A jury is entitled to believe that testimony.

       B.     Class Members’ TVPA Claims Benefit from the TVPA’s 10-Year
              Statute of Limitations.

       GEO’s attempt to shorten the class period misstates the law. Retroactive

application of a statute is only impermissible where “the new provision attaches new

legal consequences to events completed before its enactment.” Landgraf v. USI Film

Prods., 511 U.S. 244, 269-70 (1994). In the civil context, retroactivity concerns are

present when a statute creates a new cause of action, or eliminates a defense to a cause of

action, holding civil defendants liable where previously they were not. See Hughes

Aircraft Co. v. United States ex rel. Schumer, 520 U.S. 939, 948-51 (1997). Where, as

here, the amendments merely “increase[] [the] likelihood that an existing cause of action

will be pursued,” id. at 50, the amendment may be applied retroactively.

       Here, GEO is correct that when Congress first enacted the TVPA in 2000, the

statute provided for a four-year limitations period, and Congress amended the TVPA in

2008 to include a ten-year limitations period for civil actions. See ECF No. 306 (Def.’s

SJ Br.) at 33. But this change affects only a two-month portion of the Class’s claims.

Numerous courts have concluded that the TVPA’s ten-year statute of limitations applies

if the plaintiff’s claims were live when Congress lengthened the statute of limitations on

December 23, 2008. See, e.g., Cruz v. Maypa, 773 F.3d 138, 146 (4th Cir. 2014) (“We

therefore hold that applying the TVPRA’s extended limitations period to claims that were



                                            64
Case No. 1:14-cv-02887-JLK-CYC         Document 336       filed 10/26/20   USDC Colorado
                                       pg 71 of 84




unexpired at the time of its enactment does not give rise to an impermissible retroactive

effect.”); Gilbert v. United States Olympic Comm., 423 F. Supp. 3d 1112, 1129 (D. Colo.

2019) (“By applying the ten-year statute of limitations, the Court does not expose

[defendant] to any new legal consequences; it ‘merely prolongs the time during which

legal consequences can occur’” (quoting Cruz, 773 F.3d at 145)); Lama v. Malik, 192 F.

Supp. 3d 313, 322-23 (E.D.N.Y. 2016) (collecting cases). Therefore, the claims of all

Class Members that accrued after December 23, 2004 – four years prior to the 2008

amendments – are timely. Here, Plaintiffs have pled a class period running from October

22, 2004 to October 22, 2014. ECF No. 1 (Complaint) ¶ 55. Thus, only the first two

months of the Class’s claims are barred by the statute of limitations.

       GEO’s claim that this case is distinguishable from Gilbert because the Gilbert

plaintiffs’ claims arose under the 2003 amendments to the TVPA falls flat. See ECF No.

306 (Def.’s SJ Br.) at 33. Nothing in the Gilbert court’s analysis hinged on the fact that

the plaintiffs’ claims fell within the 2003 amendments. The court concluded that “the

TVPA’s existing ten-year statute of limitations applies – even to claims based on conduct

that allegedly occurred when the TVPA had a four-year limitations period (before

December 23, 2008), so long as the claim had not yet been barred by the four-year

limitation when the ten-year limitation was passed into law.” 423 F. Supp. 3d at 1128;

see also Camayo v. John Peroulis & Sons Sheep, Inc., Nos. 10 Civ. 772, 11 Civ. 1132,

2013 WL 3927677, *2 (D. Colo. July 20, 2013) (applying amended limitations period

since it “merely extended the time in which a plaintiff may assert claims for violations of

already-existing rights”).


                                             65
Case No. 1:14-cv-02887-JLK-CYC         Document 336       filed 10/26/20   USDC Colorado
                                       pg 72 of 84




       GEO likewise errs by relying on inapposite cases where, at the time of the alleged

violation, the TVPA contained no private right of action. See, e.g., Velez v. Sanchez, 693

F.3d 308, 324-25 (2d Cir. 2012) (rejecting retroactive application of TVPA’s civil cause

of action because “all of the alleged trafficking and forced labor took place before the

[2003] civil cause of action under the TVPRA was enacted”); Doe v. Siddig, 810

F.Supp.2d 127, 135 (D.D.C. 2011) (same). 11 Retroactive application of that change in

the law, unlike the expansion of the statute of limitations, would “attach[] new legal

consequences to events completed before” the amendments were enacted. See Landgraf,

511 U.S. at 269-70.

       Finally, to the extent GEO suggests that the 2008 Amendment created a new

“section and theory of liability,” it is mistaken. See ECF No. 306 (Def.’s SJ Br.) at 33.

Rather than provide for “new or expanded liability,” the forced labor prohibition has

always included “scheme, plan, or pattern” liability. See Victims of Trafficking and

Violence Protection Act of 2000, PL 106–386, tit. XVIII, § 1589, 114 Stat. 1464 (2000)

(making it unlawful for anyone to “knowingly provide[] or obtain[] the labor or services



11
        GEO also relies on Abarca v. Little, but in that case, although the statute of
limitations was in question, the Plaintiff also sought to bring civil claims that were only
added by the 2008 amendments, which “significantly broaden[ed] the basis for civil
liability under the TVPRA.” 54 F. Supp. 3d 1064, 1069 (D. Minn. 2014). Those claims
– for peonage, enticement into slavery, and involuntary servitude – are different from the
forced-labor claim Plaintiffs bring here. See id. Even if the Abarca court’s holding on
the retroactivity of the statute of limitations had been the sole basis for its decision,
Plaintiffs respectfully submit that the decision is poorly reasoned and not binding on this
Court, and that the several decisions from this district cited above provide a more
persuasive analysis of this question.


                                            66
Case No. 1:14-cv-02887-JLK-CYC          Document 336       filed 10/26/20    USDC Colorado
                                        pg 73 of 84




of a person … (2) by means of any scheme, plan, or pattern intended to cause the person

to believe that . . . person or another person would suffer serious harm or physical

restraint”).

       C.      Plaintiffs Do Not Seek Injunctive Relief.

       As GEO notes, Plaintiffs do not seek injunctive relief for their claims under the

TVPA. See ECF Doc. 305 at 34. Plaintiffs’ request for relief has not changed. Because

Plaintiffs are not seeking injunctive relief under the TVPA, the Court need not enter

summary judgment on this question.

       D.      Material Disputes of Fact Preclude Summary Judgment on Plaintiffs’
               Unjust Enrichment Claims.

       GEO offers two reasons that Plaintiffs’ unjust enrichment claims should be

disposed of on summary judgment: (1) that Plaintiffs cannot show that GEO benefitted

from the $1/day program; and (2) that an express contract bars the unjust enrichment

claim. Each is subject to disputes of material fact that preclude summary judgment.

               1.    The Record Shows That GEO Obtained a Benefit From Paying
                     Detainees $1 per Day for Their Labor.

       To recover for unjust enrichment, a plaintiff must show that “(1) at plaintiff’s

expense (2) defendant received a benefit (3) under circumstances that would make it

unjust for defendant to retain the benefit without paying.” DCB Const. Co. v. Cent. City

Dev. Co., 965 P.2d 115, 119-20 (Colo. 1998). GEO argues that Plaintiffs cannot, as a

matter of law, satisfy the second element of this test, but its argument relies on a

hypothetical that ignores the facts of the case, including its own witnesses’ testimony.




                                             67
Case No. 1:14-cv-02887-JLK-CYC            Document 336    filed 10/26/20    USDC Colorado
                                          pg 74 of 84




       GEO benefits from the $1/day program because limiting detainee wages to $1/day

allows GEO to earn the return on investment it needs to make its Aurora contract viable

from a business standpoint. When developing its bid for a contract, GEO totals up the

costs it would incur in executing the contract and adds the profit it desires on top of those

costs, all of which it charges to the government. SAF ¶ 40. But GEO cannot include the

cost of detainee wages above the $1/day reimbursement rate because that is all that ICE

will pay; GEO must bear additional costs, if any, on its own. Id. ¶¶ 48-50. Were GEO to

pay detainees more than $1/day for their labor and bear this cost, the cost to operate the

facility would increase, cutting into GEO’s return. Id. ¶ 50. Accordingly, GEO benefits

from paying just $1/day to detainees for work in the VWP by keeping its costs low and

maintaining its desired profit margins.

       Additionally, GEO’s hypothetical in which there was no VWP, ECF No. 306

(Def.’s SJ Br.) at 35-36, is at odds with how immigration detention works. As GEO has

argued in support of its Derivative Sovereign Immunity defense, ICE requires it to

operate the VWP. ECF No. 284 (Def.’s Cross DSI MSJ) at 12. And Plaintiffs allege that

GEO’s practice of paying $1/day unjustly enriches the company, not that the existence of

the VWP does so. Evidence in the record shows that the VWP does not require GEO to

pay detainees exactly $1/day, SUF ¶ 49, and that GEO could pay more at its own

expense. SAF ¶ 50. But it is to GEO’s benefit to keep detainee wages at $1/day because

the amount ICE pays GEO during each year of the contract is set at the time the contract

is signed. Id. ¶ 45. As a result, GEO bears the risk of having its profits offset by an

increase in the cost of operating the facility, such as paying more for detainee labor. Id. ¶


                                              68
Case No. 1:14-cv-02887-JLK-CYC         Document 336       filed 10/26/20   USDC Colorado
                                       pg 75 of 84




46. This is confirmed by the testimony of GEO’s 30(b)(6) witness Daniel Ragsdale, who

explained that the VWP is “                                                          cost to

us if it goes beyond that.” SUF ¶ 50. Because an increase in cost causes a decrease in

profit, GEO’s decision to limit detainee pay to $1/day benefits and enriches the company.

       Even if the Court were to entertain GEO’s hypothetical where the VWP does not

exist and GEO can mark up the cost of employee labor for additional profit, GEO would

still benefit from building $1/day detainee labor into its contracts because doing so allows

GEO to bid on the contract at a rate low enough for ICE to accept. GEO strives to

provide a fair price to the government for its services, and seeks to provide those services

for less than it would cost the government to do so itself. SAF ¶ 39. The largest

component of the price GEO charges ICE is labor, and using cheap detainee labor is one

method of keeping prices down. Id. ¶¶ 41, 51. Even if GEO could profit more from

additional employee labor billed to ICE at a markup, this would increase the total cost to

the government, making GEO’s bid less competitive. Id. ¶ 42. GEO’s own estimates

indicate that replacing all GEO ICE detainees with full-time employees nationwide

would constitute a substantial cost. Id. ¶ 51. GEO’s incentive to keep its bid down is

true even to the extent GEO’s Aurora contract bid is a “sole source bid” – i.e., where

GEO is the only contractor that can provide the services – because the government

applies extra scrutiny to a sole source bidder’s prices and finances to ensure they are

providing a fair price. Id. ¶ 43. Indeed, GEO uses the same pricing strategy for sole

source and competitive bids. Id. ¶ 44. Put simply, GEO will always have an incentive to




                                             69
Case No. 1:14-cv-02887-JLK-CYC         Document 336       filed 10/26/20   USDC Colorado
                                       pg 76 of 84




use detainee labor to ensure that the price it charges the government is low enough to

meet what the government is willing to pay. Id. ¶¶ 42-44.

              2.     GEO’s Contract Defense Fails.

                     i.     GEO Waived Its Contract Defense.

       GEO raises the affirmative defense that Plaintiffs’ unjust enrichment claims are

barred by a contract for the first time in its motion for summary judgment. Because geo

did not assert this affirmative defense in its answer, ECF No. 26 (answer) at 13-16

(listing affirmative defenses), the defense is waived. See Burke v. Regalado, 935 F.3d

960, 1040 (10th Cir. 2019) (“As a general rule, a defendant waives an affirmative defense

by failing to plead it.”); Radio Corp. Of Am. v. Radio Station KYFM, Inc., 424 F.2d 14,

17 (10th Cir. 1970) (“[D]efenses [that] are not affirmatively pleaded . . . are deemed to

have been waived and may not thereafter be considered as triable issues in the case.”).

       Moreover, GEO could not plead the existence of a contract as an affirmative

defense because it has admitted that the VWP forms signed by detainees are not a

contract. Dawn Ceja, one of GEO’s 30(b)(6) witnesses, agreed that the document GEO

now relies was not an employment contract and that it did not create any rights or

obligations. SAF ¶ 53.

                     ii.    The Contract GEO Relies On Is Unconscionable.

       Even if GEO could argue that detainees signed a contract to participate in the

VWP, it is not entitled to summary judgment because a contract does not bar an unjust

enrichment claim when it is unenforceable. See Interbank Invests., LLC v. Eagle River

Water & Sanitation Dist., 77 P.3d 814, 816 (Colo. App. 2003). Here, a jury could find


                                            70
Case No. 1:14-cv-02887-JLK-CYC         Document 336      filed 10/26/20   USDC Colorado
                                       pg 77 of 84




that the purported contract between GEO and detainees is unconscionable, rendering

Plaintiffs’ unjust enrichment claims triable.

       Under Colorado law, a contract is unconscionable when there is “evidence of

some overreaching on the part of one of the parties such as that which results from an

inequality of bargaining power or under other circumstances in which there is an absence

of meaningful choice on the part of one of the parties together with contract terms which

are unreasonably favorable to that party.” Davis v. M.L.G. Corp., 712 P.2d 985, 991

(Colo. 1986) (emphasis added). Courts weigh seven factors to guide their analysis of

whether an overreach indicating unconscionability is present:

       [1] a standardized agreement executed by parties of unequal bargaining strength;
       [2] lack of opportunity to read or become familiar with the document before
       signing it; [3] use of fine print in the portion of the contract containing the
       provision; [4] absence of evidence that the provision was commercially reasonable
       or should reasonably have been anticipated; [5] the terms of the contract, including
       substantive unfairness; [6] the relationship of the parties, including factors of
       assent, unfair surprise and notice; and [7] all the circumstances surrounding the
       formation of the contract, including its commercial setting, purpose and effect.

Id. (internal citations omitted).

       The “contract” GEO cites – the form detainees sign to be eligible to work in the

VWP – is a quintessential case of overreach by a party with far superior bargaining

power. The relationship of the “parties,” where GEO maintains control over every aspect

of Class Members’ day-to-day existence, lends itself to perhaps the greatest disparity in

bargaining power possible. 12 Detainees were isolated from family, lived intimately with


12
      A jury may evaluate this inquiry in light of the same facts that preclude summary
judgment on the question of whether GEO threatened detainees, and whether such threats
caused them to perform work in violation of the TVPA – e.g., that the Class Members

                                                71
Case No. 1:14-cv-02887-JLK-CYC          Document 336        filed 10/26/20    USDC Colorado
                                        pg 78 of 84




strangers, and relied on GEO for all of their basic necessities. SAF ¶¶ 26, 28, 36. These

conditions deprived Plaintiffs of any meaningful choice: if they wanted to earn money

while in GEO’s custody for phone calls to their family or items from the commissary,

there is no other option but to work in the $1/day program on GEO’s terms. 13 Cf. Bernall

v. Burnett, 793 F. Supp. 2d 1280, 1287 (D. Colo. 2011) (finding the existence of a

meaningful choice where the plaintiff school applicant could reject the contract terms and

apply instead to another institution). Refusal to accept GEO’s terms does not lead to a

negotiation; rather, it leads to the detainee losing the opportunity to earn money while

jailed, a fact Class Members understood. SAF ¶ 52; see Bonanno v. Quizno’s Franchise

Co., LLC, No. 06 Civ 2358, 2009 WL 1068744, at *18 (D. Colo. Apr. 20, 2009)

(recognizing that the plaintiffs’ inability to “truly negotiate or re-write any provisions of

the franchise agreement” weighed in favor of finding unconscionability); Bernall, 793 F.

Supp. 2d at 1287 (crediting plaintiffs’ affidavits stating “they did not believe they had the

ability to negotiate the terms of their contracts” as sufficient to establish the existence of

an unconscionable form contract). This imbalance in bargaining power alone could

support a finding of unconscionability, but when combined with the fact that GEO used

this bargaining advantage to impose a $1/day wage on detainees, it is clear that the terms

of the contract are unconscionable as well. See Davis, 712 P.2d at 991 (describing




faced deportation, a consequence that GEO explicitly reminded them of in telling them to
do what they were told. See § V.A.3, supra.
13
       The jury could conclude that commissary items were not luxuries, but necessities
caused by the inadequacy of the diet GEO provided detainees. SAF ¶ 36.

                                              72
Case No. 1:14-cv-02887-JLK-CYC         Document 336       filed 10/26/20    USDC Colorado
                                       pg 79 of 84




“substantive unfairness” factor and citing Williams v. Walker-Thomas Furniture Co., 350

F.2d 445, 450 (D.C. Cir. 1965) for same).

       Paying $1/day is, on its face, not “commercially reasonable.” See Davis, 712 P.2d

at 991. GEO may argue that $1/day wages are commercially reasonable because they are

consistent with detainee wages set by ICE and serve a commercial purpose of keeping

detainees active while in custody, but neither argument is persuasive. Though ICE will

only reimburse GEO $1/day for detainee labor, it does not forbid GEO from paying more

and leaves the determination of the appropriate wage to GEO. SAF ¶ 48-500 GEO chose

not to pay more than $1/day and, as explained above, did so for its own benefit. See §

V.D.1, supra. In addition, it may be the case that ICE’s purpose in requiring the VWP is

to decrease idleness, but making detainees easier to control is not a commercial purpose;

it is a coercive one, i.e., one that is unconscionable. And GEO’s real purpose in limiting

detainee wages to $1/day is to save money. See id. Limiting business costs is, in general,

a legitimate commercial purpose, but it ceases to be so when the method of limiting costs

is exploiting a workforce. See Contreras v. Corinthian Vigor Ins. Brokerage, Inc., 25 F.

Supp. 2d 1053, 1056 (N.D. Cal. 1998) (recognizing public policy against “economic

incentive” that “permits employers to underpay” workers).

       In sum, the unconscionability analysis highlights what is apparent from the

parties’ relationship: at best, GEO, Plaintiffs’ jailor, offered them an adhesive “contract”

to work while jailed on the condition that they accept only $1/day for that work. This is

the archetype of an unconscionable contract. And, because the contract is not

enforceable, it does not preclude Plaintiffs’ unjust enrichment claim.


                                             73
Case No. 1:14-cv-02887-JLK-CYC       Document 336      filed 10/26/20   USDC Colorado
                                     pg 80 of 84




VI.   CONCLUSION

      Because the record contains numerous disputes of material fact, the Court should

deny GEO’s Motion for Summary Judgment in its entirety.


 Dated: New York, NY                        Respectfully submitted,
        October 26, 2020
                                            By: /s/ Michael J. Scimone
                                            Michael J. Scimone
                                            OUTTEN & GOLDEN LLP
                                            685 Third Avenue, 25th Floor
                                            New York, NY 10017
                                            Telephone: (212) 245-1000
                                            Facsimile: (646) 509-2060
                                            E-Mail: mscimone@outtengolden.com

                                            Rachel Dempsey
                                            Adam Koshkin
                                            OUTTEN & GOLDEN LLP
                                            One California Street, 12th Floor
                                            San Francisco, CA 94111
                                            Telephone: (415) 638-8800
                                            Facsimile: (415) 638-8810
                                            E-Mail: rdempsey@outtengolden.com
                                            E-Mail: akoshkin@outtengolden.com

                                            Alexander Hood
                                            David Seligman
                                            Juno Turner
                                            TOWARDS JUSTICE
                                            1410 High St., Suite 300
                                            Denver, CO 80218
                                            (720) 441-2236
                                            alex@towardsjustice.org
                                            david@towardsjustice.org
                                            juno@towardsjustice.org



                                          74
Case No. 1:14-cv-02887-JLK-CYC   Document 336   filed 10/26/20   USDC Colorado
                                 pg 81 of 84




                                       R. Andrew Free
                                       LAW OFFICE OF R. ANDREW FREE
                                       P.O. Box 90568
                                       Nashville, TN 37209
                                       T: (844) 321-3221
                                       Andrew@ImmigrantCivilRights.com

                                       Brandt Milstein
                                       MILSTEIN LAW OFFICE
                                       1123 Spruce Street
                                       Boulder, CO 80302
                                       (303) 440-8780
                                       brandt@milsteinlawoffice.com

                                       Andrew Turner
                                       THE KELMAN BUESCHER FIRM,
                                       P.C.
                                       600 Grant St., Suite 825
                                       Denver, CO 80203
                                       (303) 333-7751
                                       aturner@laborlawdenver.com

                                       Hans Meyer
                                       MEYER LAW OFFICE, P.C.
                                       P.O. Box 40394
                                       Denver, CO 80204
                                       (303) 831-0817
                                       hans@themeyerlawoffice.com

                                       Class Counsel




                                     75
Case No. 1:14-cv-02887-JLK-CYC         Document 336       filed 10/26/20   USDC Colorado
                                       pg 82 of 84




                             CERTIFICATE OF SERVICE

       I hereby certify that on October 26, 2020, a copy of the foregoing document was

filed electronically. Service of this filing will be made on all ECF-registered counsel by

operation of the court’s electronic filing system. Parties may access this filing through

the Court’s system.


                                          /s/ Michael J. Scimone
                                          Michael J. Scimone
                                          OUTTEN & GOLDEN LLP
                                          685 Third Avenue, 25th Floor
                                          New York, New York 10017
                                          Telephone: (212) 245-1000
                                          E-Mail: mscimone@outtengolden.com




                                            76
Case No. 1:14-cv-02887-JLK-CYC        Document 336      filed 10/26/20   USDC Colorado
                                      pg 83 of 84




     List of Exhibits Attached to Opposition to Motion for Summary Judgment
Ex. 1: Decl. of Michael J. Scimone (“Scimone Decl.”) in support of Plaintiffs’
Opposition to Defendant’s Motion for Summary Judgment, dated October 26, 2020
Ex. 2: Att. 1 to Scimone Decl., Pls.’ Opposition Ex. 1, excerpts from the July 22, 2020
deposition of Alejandro Menocal.
Ex. 3: Att. 2 to Scimone Decl., Pls.’ Opposition Ex. 2, excerpts from the July 23, 2020
deposition of Stuart Grassian.
Ex. 4: Att. 3 to Scimone Decl., Pls.’ Opposition Ex. 3, excerpts from the June 24, 2020
deposition of Hugo A. Hernandez Ceren.
Ex. 5: Att. 4 to Scimone Decl., Pls.’ Opposition Ex. 4, excerpts from the June 30, 2020
deposition of Sergio Gallegos.
Ex. 6: Att. 5 to Scimone Decl., Pls.’ Opposition Ex. 5, Segregation Unit Activity Sheet,
Bates labeled GEO-MEN 00070692-93.
Ex. 7: Att. 6 to Scimone Decl., Pls.’ Opposition Ex. 6, excerpts from the October 27,
2017 deposition of Demetrio Valerga.
Ex. 8: Att. 7 to Scimone Decl., Pls.’ Opposition Ex. 7, excerpts from the February 21,
2018 deposition of Dagoberto Vizguerra.
Ex. 9: Att. 8 to Scimone Decl., Pls.’ Opposition Ex. 8, excerpts from the March 29, 2016
30(b)(6) deposition of Dawn Ceja.
Ex. 10: Att. 9 to Scimone Decl., Pls.’ Opposition Ex. 9, excerpts from the November 16,
2017 deposition of Jesus Yepez Gaytan.
Ex. 11: Att. 10 to Scimone Decl., Pls.’ Opposition Ex. 10, excerpts from the July 8, 2020
deposition of Luis Pagan.
Ex. 12: Att. 11 to Scimone Decl., Pls.’ Opposition Ex. 11, excerpts from the June 29,
2020 deposition of Martha Vasquez.
Ex. 13: Att. 12 to Scimone Decl., Pls.’ Opposition Ex. 12, excerpts from the July 16,
2020 deposition of Alejandro Hernandez Torres.
Ex. 14: Att. 13 to Scimone Decl., Pls.’ Opposition Ex. 13, excerpts from the October 26,
2017 deposition of Grisel Xahuentitla.
Ex. 15: Att. 14 to Scimone Decl., Pls.’ Opposition Ex. 14, excerpts from the September
16, 2020 30(b)(6) deposition of Dawn Ceja.




                                           77
Case No. 1:14-cv-02887-JLK-CYC         Document 336      filed 10/26/20    USDC Colorado
                                       pg 84 of 84




Ex. 16: Att. 15 to Scimone Decl., Pls.’ Opposition Ex. 15, excerpts from the July 28,
2020 deposition of Joyce Quezada.
Ex. 17: Att. 16 to Scimone Decl., Pls.’ Opposition Ex. 17, excerpts from the July 21,
2020 deposition of David Venturella.
Ex. 18: Att. 17 to Scimone Decl., Pls.’ Opposition Ex. 18, excerpts from the October 9,
2019 deposition of Amber Martin.
Ex. 19: Att. 18 to Scimone Decl., Pls.’ Opposition Ex. 19, excerpts from the February 27,
2020 30(b)(6) deposition of Daniel Ragsdale.
Ex. 20: Att. 19 to Scimone Decl., Pls.’ Opposition Ex. 20, excerpts from the February 28,
2020 30(b)(6) deposition of Amber Martin.
Ex. 21: Att. 20 to Scimone Decl., Pls.’ Opposition Ex. 21, Psychiatric Report of
Plaintiffs’ expert Dr. Stuart Grassian, M.D.
Ex. 22: Att. 21 to Scimone Decl., Pls.’ Opposition Ex. 22, Fatos Kaba, “Solitary
Confinement and Risk of Self-Harm Among Jail Inmates,” 104 Am. J. Pub. Health 442
(2014).
Ex. 23: Att. 22 to Scimone Decl., Pls.’ Opposition Ex. 23, Paul Gendreau, “Changes in
EEG Alpha Frequency and Evoked Response Latency During Solitary Confinement,” 79
J. Abnormal Psych. 54 (1972).
Ex. 24: Att. 23 to Scimone Decl., Pls.’ Opposition Ex. 27, excerpts from the June 10,
2020 deposition of Brian Evans.
                   List of Exhibits Attached to Notice of Restriction
Ex. 1: Att. 1 to Notice of Restriction, Pls.’ Opposition Ex. 16, May 30, 2018 letter from
GEO to ICE, Bates labeled GEO-MEN 00187770.
Ex. 2: Att. 2 to Notice of Restriction, Pls.’ Opposition Ex. 24, photographs of the Aurora
ICE Processing Center, Bates labeled ICE 0000102, 105, 116, 123, 128, 139, 142, 145,
152.
Ex. 3: Att. 3 to Notice of Restriction, Pls.’ Opposition Ex. 25, Detainee Orientation
Video Script 042705, Bates labeled GEO_MEN 00056575-81.
Ex. 4: Att. 4 to Notice of Restriction, Pls.’ Opposition Ex. 26, Detainee Orientation
Video Script 082507, Bates labeled GEO-MEN 00075173-83.




                                            78
